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                        IN THE
                        IN THE UNITED
                               UNITED STATES  DISTRICT COURT
                                      STATES DISTRICT  COURT
                    FOR THE
                    FOR THE SOUTHERN   DISTRICT OF
                             SOUTHERN DISTRICT  OF WEST
                                                   WEST VIRGINIA
                                                        VIRGINIA
                                CHARLESTON DIVISION
                                CHARLESTON   DIVISION

B.P.J., by
B.P.J., by her
           her next
               next friend
                    friend and
                           and mother,
                               mother, HEATHER
                                       HEATHER
JACKSON,
JACKSON,

                                       Plaintiff,
                                       Plaintiff,

v.
v.                                                            Civil Action
                                                              Civil Action No.
                                                                           No. 2:21-cv-00316
                                                                               2:21-cv-00316
                                                       Hon. Joseph
                                                       Hon.         R. Goodwin,
                                                            Joseph R.            District Judge
                                                                       Goodwin, District  Judge

WEST VIRGINIA
WEST     VIRGINIA STATE       BOARD OF
                     STATE BOARD        OF
EDUCATION,       HARRISON COUNTY
EDUCATION, HARRISON             COUNTY BOARD
                                           BOARD
OF EDUCATION,
OF  EDUCATION, WEST  WEST VIRGINIA
                             VIRGINIA
SECONDARY
SECONDARY SCHOOL             ACTIVITIES
                 SCHOOL ACTIVITIES
COMMISSION, W.
COMMISSION,       W. CLAYTON
                       CLAYTON BURCH BURCH in in his
                                                 his
official capacity
official capacity as
                  as State
                     State Superintendent,
                            Superintendent,
DORA STUTLER
DORA     STUTLER in  in her
                        her official
                            official capacity
                                     capacity as
                                              as
Harrison County
Harrison  County Superintendent,     and
                   Superintendent, and
THE
THE STATE
      STATE OF OF WEST
                   WEST VIRGINIA,
                            VIRGINIA,

                                       Defendants,
                                       Defendants,

and
and

LAINEY ARMISTEAD,
LAINEY ARMISTEAD,

                                       Defendant-Intervenor.
                                       Defendant-Intervenor.

       DEFENDANT STATE
       DEFENDANT STATE OF
                       OF WEST
                          WEST VIRGINIA'S
                               VIRGINIA’S BRIEF
                                          BRIEF IN OPPOSITION TO
                                                IN OPPOSITION TO
             PLAINTIFF’S
             PLAINTIFF'S MOTION
                         MOTION FOR SUMMARY JUDGMENT
                                FOR SUMMARY   JUDGMENT
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                                                                              Plaintiff) are are not
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                               stand up  upforfor me
                                                   me andand other
                                                                other women
                                                                         women being  being beaten
                                                                                                beaten by  by
   biological   males like
   biological males        like Lia
                                 Lia Thomas?,
                                        Thomas?, Fox    FOX NEWS:
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   “They  don’t actually
   "They don't  actually care
                         care about
                                 about womenwomen at    at all,"
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Now comes
Now comes the
          the State of West
              State of West Virginia
                            Virginia (the
                                     (the "State")
                                          “State”) and
                                                   and hereby
                                                       hereby responds to the
                                                              responds to the Plaintiff's
                                                                              Plaintiff’s Motion
                                                                                          Motion

for
for Summary
    Summary Judgment and Memorandum
            Judgment and Memorandum in
                                    in Support (“Pl. MSJ,"
                                       Support ("Pl. MSJ,” ECF 291).
                                                           ECF 291).                                         The
                                                                                                             The State
                                                                                                                 State

incorporates herein
incorporates herein all
                    all of
                        of the
                           the arguments
                               arguments and
                                         and evidence
                                             evidence submitted
                                                      submitted in
                                                                in its
                                                                   its Motion
                                                                       Motion for
                                                                              for Summary
                                                                                  Summary

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                       and the
                           the Memorandum
                               Memorandum of
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                                                                       (ECF No.
                                                                            No. 287)
                                                                                287)

previously submitted,
previously submitted, but
                      but further
                          further states
                                  states as
                                         as follows:
                                            follows:

                                               INTRODUCTION'1
                                               INTRODUCTION

         1. While
         1. While Plaintiffs
                  Plaintiff’s mother
                              mother has
                                     has brought
                                         brought this
                                                 this case on behalf
                                                      case on behalf of
                                                                     of B.P.J.,
                                                                        B.P.J., H.B.
                                                                                H.B. 3293 is about
                                                                                     3293 is about

preserving women's
preserving women’s sports,
                   sports, particularly
                           particularly vis-à-vis
                                        vis-à-vis competitiveness;
                                                  competitiveness; the
                                                                   the safety
                                                                       safety of
                                                                              of biological
                                                                                 biological female
                                                                                            female

athletes; and
athletes; and the
              the preservation
                  preservation of
                               of the
                                  the purpose
                                      purpose of
                                              of Title IX and
                                                 Title IX and its
                                                              its regulations.
                                                                  regulations. The statute is
                                                                               The statute    the
                                                                                           is the

State’s effort to
State's effort to deal with the
                  deal with the important issue of
                                important issue of whether
                                                   whether biological
                                                           biological males
                                                                      males can
                                                                            can participate
                                                                                participate in
                                                                                            in female
                                                                                               female

sports in
sports in educational settings and,
          educational settings and, if so, under
                                    if so, under what
                                                 what circumstances. This issue
                                                      circumstances. This issue has
                                                                                has been
                                                                                    been simmering
                                                                                         simmering

more broadly
more broadly in
             in our country for
                our country for over
                                over 40
                                     40 years
                                        years and
                                              and now
                                                  now sees
                                                      sees blooming
                                                           blooming attention
                                                                    attention on
                                                                              on the
                                                                                 the national
                                                                                     national

and international
and international stages,
                  stages, resulting in aa multitude
                          resulting in    multitude of
                                                    of different approaches on
                                                       different approaches on how
                                                                               how it should be
                                                                                   it should be

handled. The
handled. The spotlight
             spotlight first alighted on
                       first alighted on this
                                         this issue
                                              issue in 1976 when
                                                    in 1976 when tennis
                                                                 tennis player
                                                                        player Renee
                                                                               Renee Richards—
                                                                                     Richards—

male by
male by birth—began
        birth—began competing
                    competing in women’s professional
                              in women's professional tennis
                                                      tennis as
                                                             as aa then-identifying
                                                                   then-identifying female. The
                                                                                    female. The

issue has
issue has become
          become increasingly wide-spread, and
                 increasingly wide-spread, and now
                                               now most
                                                   most athletic
                                                        athletic organizations,
                                                                 organizations, some
                                                                                some schools
                                                                                     schools

and many
and many States are appropriately
         States are appropriately enacting
                                  enacting rules and laws
                                           rules and      to address
                                                     laws to address it.
                                                                     it. See
                                                                         See State’s MSJ Memo.
                                                                             State's MSJ Memo.

at pp
at pp 1-5.,
      1-5., ECF
            ECF No.
                No. 287
                    287 (explaining
                        (explaining the
                                    the 40
                                        40 year
                                           year history
                                                history and
                                                        and background
                                                            background of
                                                                       of the
                                                                          the issue
                                                                              issue of
                                                                                    of biological
                                                                                       biological

males participating
males participating on
                    on female athletic teams).
                       female athletic teams).

         2. B.P.J.
         2. B.P.J. is
                   is admittedly
                      admittedly aa biological
                                    biological boy.
                                               boy. See
                                                    See Jackson Dep. at
                                                        Jackson Dep. at 98:14-99:3,
                                                                        98:14-99:3, ECF No. 285-2.
                                                                                    ECF No. 285-2.

But Jackson
But Jackson recognized B.P.J. as
            recognized B.P.J. as aa girl without question
                                    girl without          following an
                                                 question following an exchange
                                                                       exchange with
                                                                                with B.P.J.
                                                                                     B.P.J. when
                                                                                            when



11 Plaintiff
   Plaintiff has
             has submitted
                 submitted aa Statement
                              Statement of Undisputed Facts
                                        of Undisputed Facts ("Plaintiff's
                                                            (“Plaintiff’s SUF”).
                                                                          SUF"). TheThe State
                                                                                        State disagrees not only
                                                                                              disagrees not      with this
                                                                                                            only with this
 procedure, but
procedure,    but also
                  also with
                       with numerous  statements made
                            numerous statements  made therein.
                                                      therein. The
                                                               The State   is filing
                                                                     State is filing concurrently herewith aa Response
                                                                                     concurrently herewith    Response to
                                                                                                                        to
 the Plaintiff's
the  Plaintiff’s SUF.
                 SUF. The   State provides
                        The State provides below
                                           below some
                                                 some contrary
                                                      contrary evidence
                                                               evidence ofof particular
                                                                              particular importance
                                                                                         importance in
                                                                                                    in the
                                                                                                       the narrative.
                                                                                                           narrative.

                                                            11
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B.P.J. was
B.P.J. was aa toddler.
              toddler. Id.
                       Id. at 106:15-107:22.2 Jackson
                           at 106:15-107:22.2         was not
                                              Jackson was not surprised
                                                              surprised because,
                                                                        because, among
                                                                                 among other
                                                                                       other

things, B.P.J
things, B.P.J liked to play
              liked to play with
                            with stereotypical
                                 stereotypical girl toys (dolls).
                                               girl toys (dolls). Id.
                                                                  Id. at
                                                                      at 109:108:24-109:18.
                                                                         109:108:24-109:18.

           Starting
           Starting in third or
                    in third or fourth
                                fourth grade,
                                       grade, B.P.J.
                                              B.P.J. began
                                                     began dressing as aa girl
                                                           dressing as    girl at
                                                                               at school
                                                                                  school (see
                                                                                         (see Jackson Decl.
                                                                                              Jackson Decl.

¶¶ 11-12,
¶¶ 11-12, ECF No. 289-2)
          ECF No. 289-2) and
                         and has
                             has numerous
                                 numerous other
                                          other interests
                                                interests that
                                                          that are
                                                               are stereotypically female.3 Asked
                                                                   stereotypically female.3 Asked

what it
what it means
        means to
              to be
                 be aa girl, B.P.J. gave
                       girl, B.P.J. gave stereotypical
                                         stereotypical answers
                                                       answers about
                                                               about how
                                                                     how girls look and
                                                                         girls look and that
                                                                                        that girls
                                                                                             girls

wear dresses,
wear dresses, use
              use makeup
                  makeup and
                         and have
                             have long
                                  long hair.
                                       hair. B.P.J.
                                             B.P.J. Dep.
                                                    Dep. at
                                                         at 30:8-31;
                                                            30:8-31; 33:
                                                                     33: 16-22;
                                                                         16-22; 35:
                                                                                35: 13-36;
                                                                                    13-36; 37:
                                                                                           37: 6-
                                                                                               6-

15 B.P.J.,
15 B.P.J., influenced
           influenced in whole or
                      in whole or in
                                  in part
                                     part by
                                          by these
                                             these cultural stereotypes, self-identified
                                                   cultural stereotypes, self-identified as
                                                                                         as aa girl.
                                                                                               girl.

Indeed, Plaintiff’s expert
Indeed, Plaintiff's expert explained
                           explained that
                                     that these
                                          these stereotypes
                                                stereotypes are
                                                            are the
                                                                the result
                                                                    result of
                                                                           of our
                                                                              our culture and that,
                                                                                  culture and that, if
                                                                                                    if

the same
the same person
         person were
                were in another culture,
                     in another culture, he
                                         he or
                                            or she
                                               she might
                                                   might identify as another
                                                         identify as another gender
                                                                             gender based
                                                                                    based on
                                                                                          on those
                                                                                             those

cultural norms
cultural norms and stereotypes.4
               and stereotypes.4

          Of course,
          Of course, all
                     all the
                         the parties
                             parties to
                                     to this
                                        this case
                                             case want
                                                  want B.P.J.
                                                       B.P.J. to
                                                              to be
                                                                 be happy,
                                                                    happy, regardless
                                                                           regardless of
                                                                                      of whether
                                                                                         whether B.P.J.
                                                                                                 B.P.J.

adopts male
adopts male or
            or female
               female stereotypes.
                      stereotypes. However,
                                   However, while
                                            while B.P.J.'s
                                                  B.P.J.’s mother
                                                           mother insists
                                                                  insists that
                                                                          that if
                                                                               if B.P.J.
                                                                                  B.P.J. cannot
                                                                                         cannot

play on
play on the
        the girls'
            girls’ teams
                   teams it
                         it will
                            will be
                                 be hurtful
                                    hurtful to
                                            to B.P.J.
                                               B.P.J. (Pl.
                                                      (Pl. MSJ.
                                                           MSJ. at
                                                                at 4-5,
                                                                   4-5, ECF No. 291),
                                                                        ECF No. 291), none
                                                                                      none of
                                                                                           of B.P.J.'s
                                                                                              B.P.J.’s

medical providers
medical providers has
                  has ever
                      ever prescribed
                           prescribed such
                                      such athletic
                                           athletic involvement as part
                                                    involvement as part of
                                                                        of aa medical
                                                                              medical treatment
                                                                                      treatment

plan.5 In
plan.5 In fact, no medical
          fact, no medical or
                           or psychological
                              psychological treatment
                                            treatment plan
                                                      plan can
                                                           can legally
                                                               legally or
                                                                       or ethically
                                                                          ethically dictate
                                                                                    dictate who
                                                                                            who




2
  When B.P.J.
2 When B.P.J. at
              at age
                 age 3
                     3 observed that B.P.J's
                       observed that B.P.J’s mother
                                             mother did
                                                    did not have the
                                                        not have the same male body
                                                                     same male body parts
                                                                                    parts that
                                                                                          that B.P.J.
                                                                                               B.P.J. had,
                                                                                                      had, B.PJ.
                                                                                                           B.PJ.
asked, "why?"
asked,  “why?” Jackson
                   Jackson responded,
                               responded, "because
                                             “because [you]
                                                        [you] were
                                                               were born
                                                                     born aa boy
                                                                               boy and
                                                                                    and boys
                                                                                          boys have
                                                                                                 have penises."
                                                                                                        penises.” B.P.J.
                                                                                                                     B.P.J. asserted
                                                                                                                             asserted "that's
                                                                                                                                       “that’s
not right"—"I'm
not right”—”I’m aa girl."
                        girl.” Id.
                                 Id. at
                                     at 100:19-101:24.
                                        100:19-101:24. Jackson
                                                            Jackson immediately        accepted that
                                                                      immediately accepted          that without
                                                                                                         without dispute.
                                                                                                                    dispute. Id.
                                                                                                                               Id. at
                                                                                                                                   at 106:15-
                                                                                                                                      106:15-
107:2.
107:2.
3
  B.P.J. admittedly
3 B.P.J.  admittedly now
                       now likes
                              likes to
                                    to wear
                                        wear dresses—stereotypical
                                              dresses—stereotypical girl girl clothing;
                                                                              clothing; likes     to wear
                                                                                           likes to   wear shoes
                                                                                                             shoes which
                                                                                                                    which B.P.J.
                                                                                                                            B.P.J. perceives
                                                                                                                                    perceives
to be
to be girl
       girl shoes,
            shoes, and
                    and selected
                           selected aa stereotypical
                                        stereotypical girl
                                                       girl name.    B.P.J. Dep.
                                                             name. B.P.J.     Dep. atat 25:3-9,
                                                                                        25:3-9, Ex.Ex. A.
                                                                                                        A. Heather
                                                                                                              Heather Jackson
                                                                                                                        Jackson added
                                                                                                                                   added that
                                                                                                                                          that
B.P.J. likes
B.P.J.  likes wearing
              wearing makeup.
                          makeup. Jackson       Dep. at
                                      Jackson Dep.     at 99:18-100:4,    ECF No.
                                                           99:18-100:4, ECF      No. 285-2.
                                                                                        285-2. Per Per Ms.
                                                                                                        Ms. Jackson,
                                                                                                              Jackson, B.P.J.
                                                                                                                          B.P.J. also
                                                                                                                                   also wants
                                                                                                                                        wants
female   anatomy (i.e.
female anatomy      (i.e. breasts
                          breasts and
                                   and aa vagina),
                                           vagina), but
                                                     but does
                                                          does not
                                                               not understand
                                                                    understand the the sexual
                                                                                       sexual implications
                                                                                                 implications of  of those
                                                                                                                     those things.
                                                                                                                            things. Jackson
                                                                                                                                      Jackson
Dep. at
Dep.  at 112:24-116:24.
          112:24-116:24.
4
  “The convention
4 "The                that girls
        convention that     girls wear
                                  wear pink
                                         pink and
                                              and have
                                                   have longer   hair, or
                                                          longer hair, or that
                                                                           that boys
                                                                                boys wear
                                                                                       wear blue
                                                                                              blue and
                                                                                                     and have
                                                                                                          have shorter
                                                                                                                 shorter hair,  are examples
                                                                                                                         hair, are  examples
of socially
of socially constructed
             constructed gender
                             gender roles
                                     roles from
                                            from aa particular
                                                    particular culture
                                                                culture and
                                                                         and historical     period.” Safer
                                                                               historical period."              Decl. at
                                                                                                        Safer Decl.   at ¶20,
                                                                                                                         ¶20, ECF
                                                                                                                                ECF No.289-
                                                                                                                                      No.289-
24.
24.
5
  Plaintiff’s experts
5 Plaintiff's experts suggest
                         suggest that
                                   that "affirmation
                                         “affirmation treatment,"
                                                        treatment,” anan ambiguous
                                                                          ambiguous term term atat best,
                                                                                                    best, should    include having
                                                                                                           should include     having society
                                                                                                                                       society
conform to
conform    to all
              all the
                  the desires
                       desires ofof the
                                    the gender
                                         gender dysphoric
                                                 dysphoric child     and that
                                                              child and   that this
                                                                                this "affirmation"
                                                                                     “affirmation” will will improve     the child's
                                                                                                               improve the    child’s mental
                                                                                                                                       mental
health. Yet
health.   Yet "[n]o
              “[n]o study     has demonstrated
                      study has    demonstrated that
                                                   that "affirming"
                                                         “affirming” the
                                                                       the transgender
                                                                            transgender identity
                                                                                            identity ofof aa child  or adolescent
                                                                                                             child or  adolescent produces
                                                                                                                                     produces
better mental
better mental health
                health outcomes
                          outcomes or or reduced
                                          reduced suicidality
                                                    suicidality relative   to psychotherapy
                                                                 relative to  psychotherapy and    and mental
                                                                                                        mental health
                                                                                                                  health support."
                                                                                                                          support.” Cantor
                                                                                                                                       Cantor
Decl. at
Decl.  at ¶¶
          ¶¶ 8, 88- 121,
             8, 88-  121, Ex.
                            Ex. C.
                                 C.

                                                                     22
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participates in
participates in aa specific
                   specific school
                            school sports team.6 What
                                   sports team.6 What Plaintiff
                                                      Plaintiff proposes
                                                                proposes as
                                                                         as proper,
                                                                            proper, i.e. the removal
                                                                                    i.e. the removal

of an
of an impediment
      impediment to
                 to being
                    being on
                          on girls'
                             girls’ teams,
                                    teams, would
                                           would be
                                                 be to
                                                    to categorize
                                                       categorize B.P.J.—and
                                                                  B.P.J.—and anyone
                                                                             anyone similarly
                                                                                    similarly

situated—on stereotypical
situated—on stereotypical notions
                          notions of
                                  of gender.
                                     gender. Yet,
                                             Yet, the
                                                  the Supreme Court does
                                                      Supreme Court does not
                                                                         not countenance
                                                                             countenance laws
                                                                                         laws

that categorize
that categorize individuals
                individuals based
                            based on
                                  on "archaic
                                     “archaic and
                                              and stereotypic
                                                  stereotypic notions"
                                                              notions” of
                                                                       of gender.
                                                                          gender. Mississippi
                                                                                  Mississippi Univ.
                                                                                              Univ.

 for Women
for  Women v. Hogan, 458
           v. Hogan, 458 U.S.
                         U.S. 718,
                              718, 725
                                   725 (1982).
                                       (1982). See
                                               See also,
                                                   also, Price
                                                         Price Waterhouse
                                                               Waterhouse v. Hopkins, 490
                                                                          v. Hopkins, 490 U.S.
                                                                                          U.S.

228, 251
228, 251 (1989) (the law
         (1989) (the law cannot
                         cannot treat
                                treat individuals
                                      individuals differently
                                                  differently based
                                                              based on
                                                                    on gender
                                                                       gender or
                                                                              or "sex
                                                                                 “sex stereotypes").
                                                                                      stereotypes”).

         By contrast,
         By contrast, H.B.
                      H.B. 3293
                           3293 follows
                                follows Supreme Court directives
                                        Supreme Court            by categorizing
                                                      directives by categorizing based
                                                                                 based on
                                                                                       on

biological sex.
biological sex. It simply requires
                It simply requires that
                                   that any
                                        any biological
                                            biological male
                                                       male students
                                                            students who
                                                                     who choose
                                                                         choose to
                                                                                to participate
                                                                                   participate in
                                                                                               in

school-sponsored sports
school-sponsored sports (which
                        (which many
                               many do
                                    do not
                                       not do
                                           do for
                                              for various
                                                  various reasons)
                                                          reasons) must
                                                                   must participate
                                                                        participate on
                                                                                    on the
                                                                                       the team
                                                                                           team

of that
of that student's
        student’s natal
                  natal sex,
                        sex, not
                             not the
                                 the student's
                                     student’s stereotypical
                                               stereotypical notions
                                                             notions of
                                                                     of self-identified
                                                                        self-identified gender.
                                                                                        gender. See
                                                                                                See

W. Va.
W. Va. Code
       Code §18-2-25d(4)
            §18-2-25d(4) ("Classifications
                         (“Classifications based
                                           based on
                                                 on [stereotypical]
                                                    [stereotypical] gender
                                                                    gender identity serve no
                                                                           identity serve no

legitimate relationship to
legitimate relationship to the
                           the State of West
                               State of West Virginia's
                                             Virginia’s interest
                                                        interest in
                                                                 in promoting
                                                                    promoting equal
                                                                              equal athletic
                                                                                    athletic

opportunities for
opportunities     the female
              for the        sex ")
                      female sex “) As
                                    As the
                                       the Supreme Court has
                                           Supreme Court has explained,
                                                             explained, "[p]hysical
                                                                        “[p]hysical differences
                                                                                    differences

between men
between men and
            and women
                women .. .. .. are
                               are enduring"
                                   enduring” and
                                             and render
                                                 render "the
                                                        “the two
                                                             two sexes
                                                                 sexes .. .. .. not
                                                                                not fungible.”
                                                                                    fungible." United
                                                                                               United

States v.
States v. Virginia,
          Virginia, 518 U.S. 515,
                    518 U.S.      at 533
                             515, at     (1996) (cleaned
                                     533 (1996)          up).
                                                (cleaned up).

         3. Sports
         3. Sports have been part
                   have been part of
                                  of the
                                     the American
                                         American educational system for
                                                  educational system     easily over
                                                                     for easily over 100
                                                                                     100 years.
                                                                                         years.

And because
And because sports
            sports are
                   are an
                       an available
                          available activity
                                    activity in
                                             in public
                                                public schools,
                                                       schools, it is important
                                                                it is important that
                                                                                that they
                                                                                     they be
                                                                                          be fair and
                                                                                             fair and

safe. H.B.
safe. H.B. 3293
           3293 inherently recognizes the
                inherently recognizes the need
                                          need for
                                               for fairness
                                                   fairness and
                                                            and safety
                                                                safety as
                                                                       as well
                                                                          well as
                                                                               as benefits
                                                                                  benefits of
                                                                                           of sports,
                                                                                              sports,

including competition.
including competition. These sports are,
                       These sports are, by
                                         by their
                                            their nature
                                                  nature competitive,
                                                         competitive, thus
                                                                      thus winning
                                                                           winning is
                                                                                   is aa benefit.
                                                                                         benefit.

Fry Dep.
Fry Dep. at
         at 95:18-96-21,
            95:18-96-21, Ex. E.77 And
                         Ex. E.   And contact
                                      contact sports,
                                              sports, by
                                                      by nature,
                                                         nature, create issues of
                                                                 create issues of safety
                                                                                  safety for the
                                                                                         for the

participants, such
participants, such as
                   as concussions, ACL injuries,
                      concussions, ACL           and more.
                                       injuries, and more. See
                                                           See Carlson
                                                               Carlson Decl.
                                                                       Decl. at
                                                                             at ¶¶
                                                                                ¶¶ 22-78,
                                                                                   22-78, ECF
                                                                                          ECF



6
  Contrary to
6 Contrary to Plaintiff’s repeated assertions
              Plaintiff's repeated assertions to
                                              to the
                                                 the contrary (See e.g.
                                                     contrary (See e.g.   ECF No.
                                                                          ECF   No. 291
                                                                                     291 at
                                                                                          at 6
                                                                                             6 and
                                                                                                and 7), H.B. 3293
                                                                                                    7), H.B. 3293 does not
                                                                                                                  does not
preclude B.P.J.
preclude B.P.J. from participating in
                from participating in school
                                      school sports
                                              sports or
                                                     or force
                                                        force B.P.J.
                                                              B.P.J. to
                                                                     to participate
                                                                        participate on  boys’ teams.
                                                                                    on boys'   teams.
7
  Professor Fry's
  Professor Fry’s observations
                  observations are
                               are subject
                                   subject to
                                           to aa Daubert
                                                 Daubert challenge,  as are
                                                          challenge, as are Plaintiff's
                                                                            Plaintiff’s other proffered experts.
                                                                                        other proffered  experts.

                                                            33
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No. 285-5.
No. 285-5. Accordingly,
           Accordingly, schools,
                        schools, athletic
                                 athletic organizations,
                                          organizations, and
                                                         and even
                                                             even legislatures have long
                                                                  legislatures have      taken
                                                                                    long taken

steps and
steps and implemented
          implemented rules and regulations
                      rules and regulations to
                                            to maximize
                                               maximize fairness and prioritize
                                                        fairness and prioritize safety.
                                                                                safety. The
                                                                                        The

federal government itself
federal government itself undertook
                          undertook such
                                    such efforts
                                         efforts when
                                                 when it
                                                      it recognized the need
                                                         recognized the      to promote
                                                                        need to promote fairness
                                                                                        fairness

in sports
in sports for female athletes
          for female athletes through
                              through the
                                      the Title
                                          Title IX
                                                IX regulations.
                                                   regulations.

       For example,
       For example, school
                    school sports
                           sports are
                                  are divided
                                      divided by
                                              by grades,
                                                 grades, recognizing
                                                         recognizing that,
                                                                     that, on
                                                                           on average,
                                                                              average, it
                                                                                       it would
                                                                                          would

be competitively
be competitively unfair
                 unfair and
                        and unsafe
                            unsafe for high schoolers
                                   for high schoolers to
                                                      to compete
                                                         compete against
                                                                 against middle
                                                                         middle schoolers,
                                                                                schoolers, even
                                                                                           even

if some
if some less-talented
        less-talented or
                      or smaller-in-stature
                         smaller-in-stature high
                                            high schoolers
                                                 schoolers might
                                                           might prefer
                                                                 prefer to
                                                                        to compete
                                                                           compete against
                                                                                   against younger
                                                                                           younger

athletes. Similarly,
athletes.            science has
          Similarly, science has confirmed
                                 confirmed what
                                           what society
                                                society has
                                                        has long
                                                            long recognized: generally, biological
                                                                 recognized: generally, biological

males are
males are bigger,
          bigger, stronger,
                  stronger, and
                            and faster than biological
                                faster than biological females. For those
                                                       females. For those reasons, schools and
                                                                          reasons, schools and

athletic organizations
athletic organizations have long had
                       have long had rules
                                     rules separating
                                           separating male
                                                      male and
                                                           and female athletes in
                                                               female athletes in competitive and
                                                                                  competitive and

contact sports.
contact sports. H.B.
                H.B. 3293,
                     3293, rather
                           rather than
                                  than enacting
                                       enacting aa "sweeping
                                                   “sweeping change"
                                                             change” (Pl.
                                                                     (Pl. MSJ.
                                                                          MSJ. at
                                                                               at 19,
                                                                                  19, ECF No.
                                                                                      ECF No.

291), simply
291), simply formalized
             formalized what
                        what States and sporting
                             States and sporting organizations
                                                 organizations have
                                                               have done
                                                                    done for decades.
                                                                         for decades.

       Given that
       Given that the
                  the "physical
                      “physical differences"
                                differences” "between
                                             “between men
                                                      men and
                                                          and women
                                                              women are
                                                                    are enduring"
                                                                        enduring” (see
                                                                                  (see

Virginia, 518 U.S.
Virginia, 518 U.S. at
                   at 533), separating sports
                      533), separating sports teams
                                              teams on
                                                    on that
                                                       that basis
                                                            basis is
                                                                  is more
                                                                     more fair
                                                                          fair than
                                                                               than doing
                                                                                    doing so
                                                                                          so based
                                                                                             based

on aa student's
on    student’s self-identified
                self-identified gender
                                gender at
                                       at any
                                          any given time. Ultimately,
                                              given time. Ultimately, in
                                                                      in sports,
                                                                         sports, bodies
                                                                                 bodies compete—
                                                                                        compete—

gender identities
gender identities do
                  do not.
                     not. No
                          No one
                             one disputes that athletic
                                 disputes that athletic ability
                                                        ability is
                                                                is based
                                                                   based far
                                                                         far more
                                                                             more on
                                                                                  on biological
                                                                                     biological

differences than
differences than on
                 on aa person's
                       person’s gender
                                gender identity.
                                       identity. Even Plaintiff’s proffered
                                                 Even Plaintiffs  proffered expert
                                                                            expert Joshua
                                                                                   Joshua Safer
                                                                                          Safer

explains that
explains that "gender
              “gender identity
                      identity itself is not
                               itself is not aa useful
                                                useful indicator of athletic
                                                       indicator of athletic performance."
                                                                             performance.” Safer Dep.
                                                                                           Safer Dep.

at 167:22-24
at 167:22-24 to
             to 168:1,
                168:1, ECF No. 285-6.
                       ECF No.        Nevertheless, Plaintiff
                               285-6. Nevertheless, Plaintiff would
                                                              would base
                                                                    base sports
                                                                         sports teams
                                                                                teams on
                                                                                      on gender
                                                                                         gender

identity, claiming
identity, claiming that
                   that gender
                        gender is
                               is immutable and cannot
                                  immutable and cannot change
                                                       change from time to
                                                              from time to time.
                                                                           time. Yet
                                                                                 Yet Plaintiff's
                                                                                     Plaintiff’s

proffered experts
proffered experts explain
                  explain that
                          that even
                               even if
                                    if aa person's
                                          person’s gender
                                                   gender identity never changes
                                                          identity never changes the
                                                                                 the person's
                                                                                     person’s

understanding of his
understanding of his or
                     or her gender can
                        her gender can change
                                       change from time to
                                              from time to time.
                                                           time. Atkins
                                                                 Atkins Dep.
                                                                        Dep. at
                                                                             at 226:10-11;
                                                                                226:10-11; 227:8-
                                                                                           227:8-

9; 228:3-4; 230:12-15.
9; 228:3-4; 230:12-15. This
                       This is
                            is aa distinction
                                  distinction without
                                              without aa difference
                                                         difference because
                                                                    because if
                                                                            if aa biological
                                                                                  biological boy
                                                                                             boy



                                                 4
                                                 4
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understands his
understands his gender
                gender to
                       to be
                          be male
                             male one
                                  one year,
                                      year, female the next,
                                            female the next, and
                                                             and then
                                                                 then male
                                                                      male again
                                                                           again the
                                                                                 the following
                                                                                     following

year, then
year, then the
           the word
               word choice
                    choice between
                           between "changing
                                   “changing one's
                                             one’s gender identity” vs.
                                                   gender identity" vs. "changing
                                                                        “changing one's
                                                                                  one’s

understanding of
understanding of gender
                 gender identity,"
                        identity,” is
                                   is meaningless.
                                      meaningless. Indeed, at least
                                                   Indeed, at least one
                                                                    one West
                                                                        West Virginian
                                                                             Virginian boy
                                                                                       boy has
                                                                                           has

already asked
already asked if he can
              if he     change his
                    can change his gender
                                   gender identity
                                          identity from
                                                   from time
                                                        time to
                                                             to time
                                                                time for
                                                                     for that
                                                                         that very
                                                                              very purpose.
                                                                                   purpose. Dolan
                                                                                            Dolan

Dep. at
Dep. at 121:3-6,
        121:3-6, ECF No. 285-1.
                 ECF No. 285-1. Further,
                                Further, basing
                                         basing aa team
                                                   team choice
                                                        choice on
                                                               on gender
                                                                  gender identity
                                                                         identity is
                                                                                  is not
                                                                                     not workable
                                                                                         workable

for the myriad
for the myriad of
               of gender
                  gender identities
                         identities that
                                    that Plaintiffs
                                         Plaintiff’s treating
                                                     treating physician
                                                              physician claims
                                                                        claims to
                                                                               to exist—at
                                                                                  exist—at least 27,
                                                                                           least 27,

and perhaps
and perhaps as
            as many
               many as
                    as 100.
                       100. See
                            See Kidd
                                Kidd Dep.
                                     Dep. at
                                          at 63:13-64:4,
                                             63:13-64:4, ECF No. 285-9.
                                                         ECF No. 285-9. Accordingly,
                                                                        Accordingly, Section
                                                                                     Section

25d is
25d is fair and proper.
       fair and proper.

A. The
A. The Save
       Save Women's
            Women’s Sports
                    Sports Act
                           Act Complies With And
                               Complies With And Furthers
                                                 Furthers The Objectives Of
                                                          The Objectives Of Title
                                                                            Title IX.
                                                                                  IX.

       Plaintiff ignores
       Plaintiff ignores the
                         the purpose
                             purpose of
                                     of Title
                                        Title IX, attempts to
                                              IX, attempts to redefine “sex,” misstates
                                                              redefine "sex," misstates the
                                                                                        the test
                                                                                            test for
                                                                                                 for

“similarly situated
"similarly situated persons,"
                    persons,” and
                              and totally
                                  totally ignores the most
                                          ignores the most relevant part of
                                                           relevant part of Title
                                                                            Title IX
                                                                                  IX law, i.e., 34
                                                                                     law, i.e., 34

C.F.R. §
C.F.R. § 106.41(
         106.41(c).. As
                     As discussed
                        discussed more
                                  more fully
                                       fully in
                                             in the
                                                the State’s MSJ Memo.
                                                    State's MSJ Memo. at
                                                                      at 22-28,
                                                                         22-28, ECF No. 287,
                                                                                ECF No. 287,

Section 25d complies
Section 25d complies with
                     with Title IX.
                          Title IX.

       1. The
       1. The Purposes And Achievements
              Purposes And Achievements Of
                                        Of Title IX.
                                           Title IX.
       Title IX was
       Title IX was designed to eliminate
                    designed to eliminate significant
                                          significant "discrimination
                                                      “discrimination against
                                                                      against women
                                                                              women in
                                                                                    in

education.” Neal
education." Neal v. Bd. of
                 v. Bd. of Trs. of Cal.
                           Trs. of      State Univs.,
                                   Cal. State         198 F.3d
                                              Univs., 198 F.3d 763,
                                                               763, 766
                                                                    766 (9th
                                                                        (9th Cir.
                                                                             Cir. 1999)
                                                                                  1999) (citing
                                                                                        (citing N
                                                                                                N.

Haven Bd.
Haven Bd. of
          of Educ.
             Educ. v. Bell, 456
                   v. Bell, 456 U.S.
                                U.S. 512, 523-24 &
                                     512, 523-24 & n.13
                                                   n.13 (1982)).
                                                        (1982)). It
                                                                 It mandates
                                                                    mandates that
                                                                             that no
                                                                                  no person
                                                                                     person

“shall, on
"shall, on the
           the basis
               basis of
                     of sex,
                        sex, be
                             be excluded
                                excluded from participation in,
                                         from participation in, be
                                                                be denied the benefits
                                                                   denied the benefits of,
                                                                                       of, or
                                                                                           or be
                                                                                              be

subjected to
subjected to discrimination
             discrimination under
                            under any
                                  any education program or
                                      education program or activity
                                                           activity receiving
                                                                    receiving Federal
                                                                              Federal financial
                                                                                      financial

assistance.” 20
assistance." 20 U.S.C.
                U.S.C. §
                       § 1681(a).
                         1681(a).

       The Title IX
       The Title IX athletic
                    athletic regulations
                             regulations explictly
                                         explictly authorize
                                                   authorize "separate
                                                             “separate teams
                                                                       teams for
                                                                             for members
                                                                                 members of
                                                                                         of each
                                                                                            each

sex where
sex where selection
          selection for such teams
                    for such teams is
                                   is based
                                      based upon
                                            upon competitive
                                                 competitive skill
                                                             skill or
                                                                   or the
                                                                      the activity
                                                                          activity involved
                                                                                   involved is
                                                                                            is aa

contact sport."
contact sport.” 34 C.F.R. §
                34 C.F.R. § 106.41(b).
                            106.41(b). And
                                       And §
                                           § 106.41(c)
                                             106.41(c) requires
                                                       requires that
                                                                that all
                                                                     all subject
                                                                         subject entities
                                                                                 entities "shall
                                                                                          “shall

provide equal
provide equal athletic
              athletic opportunity
                       opportunity for members of
                                   for members of both
                                                  both sexes."
                                                       sexes.” Id.
                                                               Id. §
                                                                   § 106.41(c).
                                                                     106.41(c). The regulations
                                                                                The regulations

                                                 5
                                                 5
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consider whether
consider whether the
                 the program
                     program provides
                             provides "levels
                                      “levels of
                                              of competition” that "effectively
                                                 competition" that “effectively accommodate
                                                                                accommodate the
                                                                                            the

.. .. .. abilities
         abilities of
                   of members
                      members of
                              of both sexes,” and
                                 both sexes," and whether
                                                  whether the
                                                          the program
                                                              program provides
                                                                      provides equal opportunities for
                                                                               equal opportunities for

public recognition
public recognition or
                   or "publicity"
                      “publicity” to
                                  to both sexes. Id.
                                     both sexes. Id. §§
                                                     §§ 106.41(c)(1),
                                                        106.41(c)(1), (10)
                                                                      (10) (emphasis
                                                                           (emphasis added).
                                                                                     added). The
                                                                                             The

Congressionally directed
Congressionally          and Presidentially
                directed and Presidentially signed
                                            signed Title
                                                   Title IX athletic regulations,
                                                         IX athletic regulations, in place for
                                                                                  in place for over
                                                                                               over

45 years,
45 years, explicitly
          explicitly recognize
                     recognize aa reality
                                  reality of
                                          of the
                                             the human
                                                 human condition:
                                                       condition: the
                                                                  the biological
                                                                      biological differences between
                                                                                 differences between

males and
males and females (not self-identified
          females (not self-identified gender
                                       gender identities)
                                              identities) are
                                                          are "enduring."
                                                              “enduring.” Virginia,
                                                                          Virginia, 518 U.S. at
                                                                                    518 U.S. at 533.
                                                                                                533.

        Title
        Title IX’s athletic regulations
              IX's athletic regulations increased
                                        increased girls’ participation in
                                                  girls' participation in high
                                                                          high school
                                                                               school athletics
                                                                                      athletics from
                                                                                                from

250,000 in
250,000 in 1972
           1972 to
                to 3.25
                   3.25 million
                        million in 2011.8 See,
                                in 2011.8 See, e.g.,
                                               e.g., Neal,
                                                     Neal, 198
                                                           198 F.3d
                                                               F.3d at
                                                                    at 773 (crediting Title
                                                                       773 (crediting       IX for
                                                                                      Title IX for

this change).
this change). Athletic
              Athletic sports
                       sports separation
                              separation based
                                         based on
                                               on biological
                                                  biological sex
                                                             sex is
                                                                 is fundamental to the
                                                                    fundamental to the success
                                                                                       success of
                                                                                               of

Title
Title IX and actions
      IX and actions to
                     to transform
                        transform or
                                  or eviscerate
                                     eviscerate it
                                                it should
                                                   should be
                                                          be considered with deep
                                                             considered with deep care
                                                                                  care and
                                                                                       and caution.
                                                                                           caution.

             2. "Sex"
             2. “Sex” Under
                      Under Title
                            Title IX Means Biological
                                  IX Means            Sex.
                                           Biological Sex.
        “Biological sex
        "Biological sex is
                        is aa clear, scientifically valid,
                              clear, scientifically valid, and
                                                           and well-defined
                                                               well-defined category."
                                                                            category.” Cantor
                                                                                       Cantor Decl.
                                                                                              Decl. at
                                                                                                    at

¶8, Ex.
¶8,     C. As
    Ex. C. As the
              the historical
                  historical agency
                             agency interpretations,
                                    interpretations, implemented
                                                     implemented regulations, and controlling
                                                                 regulations, and             case
                                                                                  controlling case

law establish, the
law establish, the term
                   term "sex"
                        “sex” in this context
                              in this context can only reasonably
                                              can only            be understood
                                                       reasonably be understood to
                                                                                to mean
                                                                                   mean biological
                                                                                        biological

sex—not the
sex—not the person's
            person’s internal
                     internal sense
                              sense of
                                    of being
                                       being male
                                             male or
                                                  or female, or their
                                                     female, or their outward
                                                                      outward presentation
                                                                              presentation of
                                                                                           of that
                                                                                              that

internally felt
internally felt sense
                sense (sometimes
                      (sometimes referenced as "gender
                                 referenced as “gender identity").
                                                       identity”).                       “Sex is
                                                                                         "Sex is aa biological
                                                                                                    biological

classification, encoded
classification, encoded in our DNA.
                        in our DNA. .. .. .. Sex makes us
                                             Sex makes us male
                                                          male or female."'9 By
                                                               or female.”   By contrast,
                                                                                contrast, "transgender
                                                                                          “transgender

identity is
identity is not
            not biologically
                biologically based."
                             based.” Levine Decl. at
                                     Levine Decl. at ¶¶
                                                     ¶¶ 18
                                                        18 and
                                                           and 90-96,
                                                               90-96, Ex. D. Claims
                                                                      Ex. D. Claims by
                                                                                    by proffered
                                                                                       proffered

experts Safer
experts       and Adkins
        Safer and Adkins that
                         that there
                              there is
                                    is aa medical
                                          medical consensus to the
                                                  consensus to the contrary
                                                                   contrary are
                                                                            are unsupported
                                                                                unsupported by
                                                                                            by any
                                                                                               any

data or
data or realistic
        realistic studies.
                  studies. See
                           See generally
                               generally State’s MSJ Memo.
                                         State's MSJ Memo. at
                                                           at 25-26,
                                                              25-26, ECF No. 287.
                                                                     ECF No. 287.


88 U.S.
   U.S. DEP'T
        DEP’T OF EDUC.,
                 EDUC., OFFICE
                        OFFICE OF Civ.
                                  CIV. RTS.,
                                       RTS., PROTECTING
                                             PROTECTING CIVIL
                                                        CIVIL RIGHTS,
                                                              RIGHTS, ADVANCING
                                                                      ADVANCING E QUITY: REPORT
                                                                                 EQUITY: REPORT TO
                                                                                                TO THE
 PRESIDENT AND
PRESIDENT   AND S ECRETARY OF E
                 SECRETARY       DUCATION, UNDER
                                EDUCATION,   UNDER S        203(B)(1) OF THE DEPARTMENT
                                                     ECTION 203(B)(1)
                                                   SECTION                   DEPARTMENT OF E DUCATION
                                                                                            EDUCATION
ORGANIZATION ACT,
ORGANIZATION      ACT, FY
                       FY 13-14
                          13-14 3333 (2015),
                                     (2015), https://www2.ed.goviabout/reports/annual/ocereport-to-president-and-
                                              https://www2.ed.gov/about/reports/annual/ocr/report-to-president-and-
secretary-of-education-2013-14.pdf.
secretary-of-education-2013-14.pdf.
9
  NATIONAL INSTITUTES
9 NATIONAL   INSTITUTES OF HEALTH,
                           HEALTH, OFFICE
                                     OFFICE OF RESEARCH
                                               RESEARCH ON WOMEN'S
                                                              WOMEN’S HEALTH,
                                                                         HEALTH, How
                                                                                 HOW S EX AND G
                                                                                     SEX        ENDER IINFLUENCE
                                                                                              GENDER     NFLUENCE
HEALTH AND DISEASE,
HEALTH           DISEASE, https://orwh.od.nih.gov/sites/orwh/files/docs/SexGenderinfographic_11x17_508.pdf
                          https://orwh.od.nih.gov/sites/orwh/files/docs/SexGenderInfographic_11x17_508.pdf (last
                                                                                                               (last
visited May
visited May 6,
             6, 2022).
                2022).

                                                         6
                                                         6
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       Title
       Title IX uses the
             IX uses the term
                         term "sex,"
                              “sex,” and
                                     and the
                                         the interpretive
                                             interpretive regulations
                                                          regulations use
                                                                      use the
                                                                          the term
                                                                              term "sex"
                                                                                   “sex” to
                                                                                         to mean
                                                                                            mean

the two
the     biological sexes,
    two biological sexes, male
                          male and
                               and female.
                                   female. See,
                                           See, e.g.,
                                                e.g., 34
                                                      34 C.F.R.
                                                         C.F.R. §
                                                                § 106.41(c)
                                                                  106.41(c) (recipients
                                                                            (recipients "shall
                                                                                        “shall

provide equal
provide equal athletic
              athletic opportunity
                       opportunity for members of
                                   for members of both sexes.”) (emphasis
                                                  both sexes.") (emphasis added).
                                                                          added). The ordinary
                                                                                  The ordinary

meaning of
meaning of "both"
           “both” connotes two.
                  connotes two.

       Even the Supreme
       Even the         Court has
                Supreme Court has consistently
                                  consistently recognized the term
                                               recognized the term to
                                                                   to identify only two
                                                                      identify only     sexes—
                                                                                    two sexes—

male and
male and female. See Rostock
         female. See Bostock v.
                             v. Clayton
                                Clayton Cnty.,
                                        Cnty., Ga., 140 S.
                                               Ga., 140    Ct. 1731,
                                                        S. Ct. 1731, 1739
                                                                     1739 (2020)
                                                                          (2020) (proceeding
                                                                                 (proceeding on
                                                                                             on

the assumption
the assumption that
               that at
                    at the
                       the time
                           time of
                                of Title
                                   Title VII's
                                         VII’s passage,
                                               passage, the
                                                        the term
                                                            term sex
                                                                 sex "referr[ed]
                                                                     “referr[ed] only
                                                                                 only to
                                                                                      to biological
                                                                                         biological

distinctions between
distinctions between male
                     male and
                          and female"
                              female” and
                                      and did
                                          did not
                                              not include “norms concerning
                                                  include "norms            gender identity”);
                                                                 concerning gender identity");

see also
see also Frontiero
         Frontiero v. Richardson, 411
                   v. Richardson, 411 U.S.
                                      U.S. 677, 686 (1973)
                                           677, 686 (1973) (plurality
                                                           (plurality opinion)
                                                                      opinion) ("[S]ex,
                                                                               (“[S]ex, like race
                                                                                        like race

and national
and national origin,
             origin, is
                     is an
                        an immutable
                           immutable characteristic determined solely
                                     characteristic determined solely by
                                                                      by the
                                                                         the accident
                                                                             accident of
                                                                                      of birth.")
                                                                                         birth.”) 34
                                                                                                  34

CFR §§
CFR §§ 106.32(b)(1),
       106.32(b)(1), 106.33,
                     106.33, 106.34,
                             106.34, 106.40,
                                     106.40, 106.41,
                                             106.41, 106.43,
                                                     106.43, 106.52,
                                                             106.52, 106.59,
                                                                     106.59, and
                                                                             and 106.61
                                                                                 106.61 (each
                                                                                        (each

recognizing two
recognizing two sexes).
                sexes). Contrary
                        Contrary to
                                 to the
                                    the plain
                                        plain language
                                              language of
                                                       of the
                                                          the statute
                                                              statute and
                                                                      and regulations,
                                                                          regulations, Plaintiff
                                                                                       Plaintiff

asserts at
asserts at least
           least four
                 four "genders"
                      “genders” or
                                or "gender
                                   “gender identities."
                                           identities.” Dr.
                                                        Dr. Kidd,
                                                            Kidd, Plaintiffs
                                                                  Plaintiff’s current medical doctor,
                                                                              current medical doctor,

asserts that
asserts that there
             there are
                   are in
                       in excess of 27
                          excess of 27 genders,
                                       genders, perhaps
                                                perhaps as
                                                        as many
                                                           many as
                                                                as 100.
                                                                   100. Kidd
                                                                        Kidd Dep.
                                                                             Dep. at
                                                                                  at 63:13-64:4,
                                                                                     63:13-64:4,

ECF No. 285-9.
ECF No. 285-9. Plaintiff's
               Plaintiff’s position
                           position that
                                    that aa student-athlete
                                            student-athlete be
                                                            be permitted
                                                               permitted to
                                                                         to participate
                                                                            participate on
                                                                                        on aa team
                                                                                              team

consistent with
consistent with the
                the athlete's
                    athlete’s gender
                              gender identity
                                     identity rather than biological
                                              rather than biological sex
                                                                     sex would
                                                                         would be
                                                                               be impossible given
                                                                                  impossible given

this array
this array of
           of gender identities. On
              gender identities. On which
                                    which team
                                          team would
                                               would biological
                                                     biological male
                                                                male athletes
                                                                     athletes identifying as non-
                                                                              identifying as non-

binary, bi-gender,
binary, bi-gender, agender,
                   agender, nongender,
                            nongender, gray
                                       gray gender, etc. participate?
                                            gender, etc. participate? Is it whichever
                                                                      Is it whichever team
                                                                                      team that
                                                                                           that

athlete chooses
athlete chooses at
                at any
                   any particular
                       particular time?
                                  time?

       Section 25d properly
       Section 25d properly utilizes
                            utilizes the
                                     the commonly
                                         commonly accepted
                                                  accepted definition
                                                           definition of
                                                                      of the
                                                                         the word
                                                                             word "sex"
                                                                                  “sex” as
                                                                                        as

referring to
referring to the
             the physiological
                 physiological differences between biological
                               differences between biological males
                                                              males and
                                                                    and females,
                                                                        females, including medical
                                                                                 including medical

definitions, statutory
definitions, statutory and
                       and regulatory
                           regulatory meanings,
                                      meanings, and
                                                and controlling case law
                                                    controlling case law from the Supreme
                                                                         from the         Court.
                                                                                  Supreme Court.

           3. Biological
           3.             male athletes
              Biological male    athletes identifying
                                           identifying as
                                                       as female  (including Plaintiff)
                                                           female (including            are not
                                                                             Plaintiff) are not
           similarly situated
           similarly situated in
                              in all
                                 all relevant
                                     relevant respects to female
                                              respects to female athletes.
                                                                 athletes.

                                                 7
                                                 7
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          “[T]he Constitution
          "[T]he Constitution only
                              only forbids arbitrary differentiations
                                   forbids arbitrary differentiations among
                                                                      among groups of persons
                                                                            groups of persons who
                                                                                              who

are similar
are similar in all aspects
            in all aspects relevant
                           relevant to attaining the
                                    to attaining the legitimate objectives of
                                                     legitimate objectives of legislation.”
                                                                              legislation." Van Der
                                                                                            Van Der

Linde Hous.,
Linde Hous., Inc.
             Inc. v. Rivanna Solid
                  v. Rivanna Solid Waste Auth., 507
                                   Waste Auth., 507 F.3d
                                                    F.3d 290,
                                                         290, 293
                                                              293 (4th
                                                                  (4th Cir.
                                                                       Cir. 2007)
                                                                            2007) (citing
                                                                                  (citing F.S.
                                                                                          F.S.

Royster Guano
Royster Guano Co.
              Co. v.
                  v. Virginia, 253 U.S.
                     Virginia, 253 U.S. 412,
                                        412, 415
                                             415 (1920)
                                                 (1920) (emphasis
                                                        (emphasis added).
                                                                  added). Plaintiff
                                                                          Plaintiff insists
                                                                                    insists that
                                                                                            that

for purposes of
for purposes of Title
                Title IX, Plaintiff is
                      IX, Plaintiff is similarly
                                       similarly situated
                                                 situated to
                                                          to biological
                                                             biological girls.
                                                                        girls. Plaintiff
                                                                               Plaintiff provides
                                                                                         provides neither
                                                                                                  neither

legal support nor
legal support nor logical reasoning to
                  logical reasoning to support this.10 In
                                       support this.1° In fact, under Title
                                                          fact, under       IX, aa plaintiff
                                                                      Title IX,    plaintiff must
                                                                                             must show
                                                                                                  show

that he
that he or
        or she
           she is similarly situated
               is similarly situated in
                                     in all
                                        all relevant
                                            relevant respects.
                                                     respects. In the case
                                                               In the case of
                                                                           of athletics
                                                                              athletics under
                                                                                        under Title
                                                                                              Title IX
                                                                                                    IX

and 34
and 34 C.F.R.
       C.F.R. §
              § 106.41,
                106.41, courts
                        courts look
                               look to
                                    to "average
                                       “average physical
                                                physical differences
                                                         differences between
                                                                     between the
                                                                             the sexes."
                                                                                 sexes.” Yellow
                                                                                         Yellow

Springs Exempted
Springs Exempted Vill. Sch. Dist.
                 Vill. Sch. Dist. Bd.
                                  Bd. of
                                      of Ed.
                                         Ed. v.
                                             v. Ohio High Sch.
                                                Ohio High Sch. Athletic
                                                               Athletic Ass
                                                                        Ass’n,
                                                                            'n, 647 F.2d 651,
                                                                                647 F.2d 651, 657
                                                                                              657

(6th Cir.
(6th Cir. 1981).
          1981). Moreover,
                 Moreover, "[mien
                           “[m]en and
                                  and women
                                      women are
                                            are not physiologically the
                                                not physiologically the same
                                                                        same for the purposes
                                                                             for the purposes

of physical
of physical fitness
            fitness programs."
                    programs.” Bauer
                               Bauer v. Lynch, 812
                                     v. Lynch, 812 F.3d
                                                   F.3d 340,
                                                        340, 350
                                                             350 (4th
                                                                 (4th Cir.
                                                                      Cir. 2016).
                                                                           2016).

          It is certainly
          It is certainly true
                          true that
                               that B.P.J.
                                    B.P.J. looks
                                           looks and
                                                 and acts
                                                     acts like
                                                          like aa girl
                                                                  girl in many stereotypical
                                                                       in many stereotypical ways.
                                                                                             ways. While
                                                                                                   While

that may
that may make
         make B.P.J.
              B.P.J. similarly
                     similarly situated
                               situated to
                                        to biological
                                           biological females
                                                      females for
                                                              for some
                                                                  some purposes,
                                                                       purposes, it
                                                                                 it does
                                                                                    does not
                                                                                         not make
                                                                                             make

B.P.J. similarly
B.P.J. similarly situated
                 situated to
                          to aa female athlete for
                                female athlete     purposes of
                                               for purposes of Title
                                                               Title IX and 34
                                                                     IX and    C.F.R. §
                                                                            34 C.F.R. § 106.41.
                                                                                        106.41. "Title
                                                                                                “Title

IX was enacted
IX was enacted in
               in order
                  order to
                        to remedy
                           remedy discrimination
                                  discrimination that
                                                 that results
                                                      results from
                                                              from stereotyped
                                                                   stereotyped notions[.]"
                                                                               notions[.]” Neal,
                                                                                           Neal,

198 F.3d
198 F.3d at
         at 768.
            768. And,
                 And, the
                      the Supreme Court does
                          Supreme Court does not
                                             not condone
                                                 condone discrimination
                                                         discrimination that
                                                                        that categorizes
                                                                             categorizes

individuals based
individuals based on
                  on "archaic
                     “archaic and
                              and stereotypic
                                  stereotypic notions"
                                              notions” of
                                                       of gender.
                                                          gender. Hogan,
                                                                  Hogan, 458
                                                                         458 U.S.
                                                                             U.S. at
                                                                                  at 725.
                                                                                     725.

          Plaintiff’s doctors
          Plaintiff's doctors determined
                              determined that
                                         that B.P.J.
                                              B.P.J. has
                                                     has gender
                                                         gender dysphoria, based largely
                                                                dysphoria, based largely on
                                                                                         on B.P.J.'s
                                                                                            B.P.J.’s

representations to
representations to those
                   those doctors; of B.P.J.'s
                         doctors; of B.P.J.’s preferences
                                              preferences to
                                                          to wear
                                                             wear stereotypically
                                                                  stereotypically female
                                                                                  female clothing
                                                                                         clothing

and hairstyles;
and hairstyles; and
                and aa self-professed
                       self-professed identity as aa girl,
                                      identity as    girl, despite
                                                           despite being
                                                                   being aa biological male.11 Neither
                                                                            biological male."  Neither


10
1° To  be fair,
   To be   fair, Plaintiff  does cite
                 Plaintiff does  cite this
                                       this Court's
                                            Court’s initial   preliminary injunction
                                                      initial preliminary  injunction for   this proposition.
                                                                                        for this proposition. However,
                                                                                                                 However, this
                                                                                                                           this is
                                                                                                                                is faulty
                                                                                                                                   faulty
as it
as    relies on
   it relies on aa preliminary
                   preliminary ruling
                                  ruling and
                                           and is
                                               is nothing
                                                  nothing more
                                                             more than
                                                                   than an
                                                                        an ipse
                                                                            ipse dixit
                                                                                 dixit statement.
                                                                                       statement.
11
   B.P.J.’s first
ii B.P.J.'s        visit with
             first visit with Dr.
                               Dr. Montano
                                   Montano waswas only
                                                    only 4545 minutes.
                                                               minutes. (See
                                                                        (See Exhibit
                                                                              Exhibit 4 4 to
                                                                                          to Montano's
                                                                                             Montano’s deposition
                                                                                                           deposition showing
                                                                                                                      showing anan entry
                                                                                                                                    entry
time of
time  of 10:05(top
         10:05(top of of p.1)
                          p.1) and
                               and aa completion
                                      completion time
                                                    time of   10:51(see page
                                                          of 10:51(see  page 6)).
                                                                               6)). At
                                                                                    At that
                                                                                       that brief
                                                                                             brief visit,
                                                                                                   visit, B.P.J.
                                                                                                          B.P.J. submitted
                                                                                                                 submitted aa completed
                                                                                                                              completed
two-page medical
two-page     medical admission-type
                         admission-type form       (attached to
                                            form (attached      to Montano
                                                                   Montano Dep.
                                                                              Dep. asas Ex.
                                                                                         Ex. 36)
                                                                                               36) and
                                                                                                    and reported
                                                                                                          reported these
                                                                                                                    these stereotypical
                                                                                                                          stereotypical

                                                                   8
                                                                   8
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these stereotypes
these stereotypes nor
                  nor aa diagnosis of gender
                         diagnosis of        dysphoria12 make
                                      gender dysphoria12 make B.P.J.
                                                              B.P.J. "similarly
                                                                     “similarly situated
                                                                                situated in all
                                                                                         in all

relevant respects"
relevant respects” to
                   to biological
                      biological girls
                                 girls in
                                       in athletics.
                                          athletics.

          Plaintiff argues,
          Plaintiff argues, based
                            based on
                                  on the
                                     the report
                                         report of
                                                of proffered
                                                   proffered expert
                                                             expert Safer, that there
                                                                    Safer, that there is no athletic
                                                                                      is no athletic

difference between
difference between Plaintiff
                   Plaintiff and
                             and biological
                                 biological females.
                                            females. This
                                                     This is based on
                                                          is based on the
                                                                      the dubious
                                                                          dubious claim
                                                                                  claim that
                                                                                        that

athletic differences
athletic differences are
                     are based
                         based solely
                               solely on
                                      on circulating
                                         circulating testosterone
                                                     testosterone and
                                                                  and that
                                                                      that there
                                                                           there is no difference
                                                                                 is no difference
                                                                                      13
between pre-pubescent
between pre-pubescent males
                      males and
                            and females—either
                                females—either in performance or
                                               in performance or testosterone
                                                                 testosterone levels.
                                                                              levels. 13 Dr.
                                                                                         Dr.

Safer relies on
Safer relies on two
                two studies
                    studies to
                            to claim that "[b]efore
                               claim that “[b]efore puberty,
                                                    puberty, boys
                                                             boys and
                                                                  and girls
                                                                      girls have
                                                                            have the
                                                                                 the same
                                                                                     same level of
                                                                                          level of

circulating testosterone."
circulating testosterone.” Safer Decl.. at
                           Safer Decl.. at ¶
                                           ¶ 24,
                                             24, ECF No. 289-25.
                                                 ECF No. 289-25. But
                                                                 But neither
                                                                     neither of
                                                                             of his
                                                                                his cited
                                                                                    cited studies
                                                                                          studies

says so.
says so. In
         In fact, both performance
            fact, both performance statistics
                                   statistics and
                                              and prepubescent
                                                  prepubescent testosterone
                                                               testosterone level
                                                                            level data
                                                                                  data tell
                                                                                       tell aa different
                                                                                               different

story. Dr.
story. Dr. Brown
           Brown cites
                 cites numerous uncontested studies
                       numerous uncontested studies showing
                                                    showing that
                                                            that there
                                                                 there are
                                                                       are significant
                                                                           significant differences
                                                                                       differences

in prepubescent
in prepubescent boys
                boys and
                     and girls, both in
                         girls, both    athletic performance
                                     in athletic performance and
                                                             and pre-pubertal
                                                                 pre-pubertal testosterone.
                                                                              testosterone. Actual
                                                                                            Actual

data from
data      extensive international
     from extensive               studies show
                    international studies show that
                                               that pre-pubertal
                                                    pre-pubertal biological
                                                                 biological boys
                                                                            boys consistently
                                                                                 consistently

outperform girls
outperform girls in
                 in jumping,
                    jumping, running,
                             running, and
                                      and upper
                                          upper body
                                                body strength
                                                     strength events,
                                                              events, sometimes
                                                                      sometimes in
                                                                                in drastic
                                                                                   drastic

fashion. Brown Decl.
fashion. Brown Decl. at
                     at ¶¶
                        ¶¶ 71-109,
                           71-109, ECF No. 285-7.
                                   ECF No. 285-7. This may well
                                                  This may well be
                                                                be because
                                                                   because at
                                                                           at 0-5
                                                                              0-5 months,
                                                                                  months,

males’ testosterone
males' testosterone levels
                    levels exceed female levels
                           exceed female        by as
                                         levels by as much
                                                      much as
                                                           as 500 percent (Brown
                                                              500 percent (Brown Decl.
                                                                                 Decl. at
                                                                                       at ¶
                                                                                          ¶ 68,
                                                                                            68,




preferences. Based
preferences.    Based onon this,
                            this, Dr.
                                  Dr. Montano
                                       Montano diagnosed
                                                  diagnosed B.P.J.
                                                               B.P.J. as
                                                                       as having
                                                                           having gender
                                                                                   gender dysphoria     and immediately
                                                                                             dysphoria and                     prescribed aa
                                                                                                              immediately prescribed
body changing
body               puberty blocker
      changing puberty       blocker treatment,
                                      treatment, toto be
                                                      be inserted   at aa future
                                                          inserted at     future date.   Montano Dep.
                                                                                  date. Montano     Dep. at
                                                                                                          at 96:21-104:15,
                                                                                                              96:21-104:15, Ex.  Ex. B,
                                                                                                                                      B, and
                                                                                                                                         and
Exhibit 45
Exhibit  45 thereto.
             thereto. Dr.
                        Dr. Kidd,
                             Kidd, B.P.J.'s
                                     B.P.J.’s current
                                               current doctor,
                                                        doctor, relied
                                                                 relied upon    Dr. Montano's
                                                                         upon Dr.   Montano’s gender       stereotype-based diagnosis.
                                                                                                  gender stereotype-based         diagnosis.
Kidd Dep.
Kidd  Dep. atat 75:21-76:13;
                75:21-76:13; 100:22-102:13.,
                                 100:22-102:13., ECFECF No.No. 285-9.
                                                                285-9. Notably,
                                                                          Notably, such
                                                                                    such aa psychological
                                                                                             psychological diagnosis
                                                                                                              diagnosis is  is not
                                                                                                                               not akin
                                                                                                                                    akin to
                                                                                                                                         to aa
diagnosis of
diagnosis   of aa physical
                  physical medical
                             medical issue     that can
                                        issue that       be identified
                                                    can be   identified via
                                                                          via independent
                                                                               independent objective
                                                                                              objective tesing.
                                                                                                         tesing. In In fact,   Dr. Janssen,
                                                                                                                        fact, Dr.   Janssen,
Plaintiff’s rebuttal
Plaintiff's rebuttal expert,   opined that
                      expert, opined    that he
                                             he would
                                                 would not
                                                         not give
                                                             give such
                                                                   such aa diagnosis
                                                                            diagnosis based
                                                                                        based such
                                                                                              such aa minimal
                                                                                                      minimal interaction
                                                                                                                 interaction Dr.Dr. Janssen
                                                                                                                                     Janssen
opined that
opined  that multiple
              multiple visits
                        visits over
                                over time
                                      time would
                                            would bebe necessary.
                                                        necessary. Janssen
                                                                      Janssen Dep.
                                                                                Dep. atat 309;
                                                                                          309; 19-311:18,
                                                                                               19-311:18, ECFECF No.
                                                                                                                   No. 285-3.
                                                                                                                         285-3.
12
   After this
12 After this this
               this diagnosis,
                    diagnosis, Dr.Dr. Montano
                                      Montano testified
                                                  testified that
                                                            that B.P.J's
                                                                  B.P.J’s medical
                                                                            medical records
                                                                                      records as
                                                                                               as of
                                                                                                   of December
                                                                                                      December 31, 31, 2021
                                                                                                                         2021 are
                                                                                                                                are correct.
                                                                                                                                     correct.
Those   B.P.J. records
Those B.P.J.    records state:
                          state: "Gender
                                 “Gender identity:
                                             identity: Male."
                                                         Male.” SeeSee Montano
                                                                         Montano Dep.
                                                                                    Dep. atat 154:18-155:24
                                                                                              154:18-155:24 (Ex. (Ex. BB hereto)     and Ex.
                                                                                                                           hereto) and    Ex.
45 thereto.
45 thereto.
13
   Plaintiff’s expert
13 Plaintiff's          provided that
                expert provided     that "after
                                          “after the
                                                 the initiation
                                                      initiation of  puberty blocking
                                                                  of puberty    blocking treatment,
                                                                                           treatment, aa girl
                                                                                                          girl who
                                                                                                               who is     transgender will
                                                                                                                      is transgender     will
experience   none of
experience none     of the
                       the impacts
                            impacts ofof testosterone
                                          testosterone that
                                                         that would
                                                               would bebe typical
                                                                           typical if
                                                                                   if she  underwent her
                                                                                      she underwent    her full
                                                                                                             full endogenous
                                                                                                                  endogenous puberty."
                                                                                                                                   puberty.”
Adkins Decl.
Adkins   Decl. atat ¶ 30,
                      30, ECF
                           ECF No.
                                 No. 289-23.
                                      289-23. However,
                                                 However, thisthis says  nothing of
                                                                   says nothing    of the
                                                                                       the prepubescent
                                                                                           prepubescent testosterone
                                                                                                           testosterone levels      reported
                                                                                                                            levels reported
by the
by  the Mayo
        Mayo Clinic
                 Clinic nor
                        nor the
                              the actual
                                  actual performance
                                           performance datedate of  pre-pubescent male
                                                                 of pre-pubescent     male athletes
                                                                                             athletes vs.
                                                                                                      vs. female    athletes of
                                                                                                          female athletes       of the
                                                                                                                                   the same
                                                                                                                                       same
age.
age.

                                                                      99
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ECF No. 285-7)
ECF No. 285-7) (citing
               (citing Mayo
                       Mayo Clinic Laboratories).14 This
                            Clinic Laboratories).14      is science
                                                    This is science which
                                                                    which the
                                                                          the Legislature must
                                                                              Legislature must

acknowlege.
acknowlege.

            4. Section 25d
            4. Section 25d furthers,
                           furthers, not violates, Title
                                     not violates, Title IX’s Athletic Regulations.
                                                         IX's Athletic Regulations.
        Nothing in
        Nothing in Section 25d is
                   Section 25d is contrary
                                  contrary to Title a
                                           to Title IX or
                                                       or its
                                                          its implementing regulations. Title
                                                              implementing regulations. Title IX
                                                                                              IX

requires some different
requires some different treatment
                        treatment between
                                  between the
                                          the biological
                                              biological sexes.
                                                         sexes. See
                                                                See 34
                                                                    34 §
                                                                       § CFR
                                                                         CFR 106.41(b).
                                                                             106.41(b). It does
                                                                                        It does

not prohibit
not prohibit or
             or even allow different
                even allow different treatment
                                     treatment based
                                               based on
                                                     on gender
                                                        gender identity. Plaintiff accepts
                                                               identity. Plaintiff accepts that
                                                                                           that Title
                                                                                                Title

IX authorizes sports
IX authorizes sports teams
                     teams separated
                           separated by
                                     by sex.
                                        sex. Nevertheless,
                                             Nevertheless, B.P.J.
                                                           B.P.J. seeks
                                                                  seeks to
                                                                        to join
                                                                           join the
                                                                                the separate
                                                                                    separate female
                                                                                             female

cross country
cross         and track
      country and track teams.
                        teams. But
                               But allowing
                                   allowing biological
                                            biological males
                                                       males to
                                                             to participate
                                                                participate on
                                                                            on female
                                                                               female teams
                                                                                      teams would
                                                                                            would

be contrary
be contrary to
            to the
               the very
                   very basis
                        basis for
                              for the
                                  the separation.
                                      separation. The
                                                  The Save Women’s Sports
                                                      Save Women's        Act’s designation
                                                                   Sports Act's             of
                                                                                designation of

biological boys
biological boys playing
                playing on
                        on male
                           male teams
                                teams is
                                      is consistent with, and
                                         consistent with, and supports
                                                              supports the
                                                                       the purposes
                                                                           purposes of,
                                                                                    of, Title
                                                                                        Title IX.
                                                                                              IX.

So not only
So not only does
            does the
                 the statute
                     statute not
                             not violate
                                 violate Title
                                         Title IX,
                                               IX, it strengthens the
                                                   it strengthens the goals
                                                                      goals of
                                                                            of Title IX in
                                                                               Title IX in West
                                                                                           West

Virginia.
Virginia.

        It has long
        It has      been recognized
               long been recognized in law that
                                    in law that biological
                                                biological females and biological
                                                           females and biological males
                                                                                  males are
                                                                                        are different
                                                                                            different

in ways
in ways that
        that are
             are relevant
                 relevant to
                          to athletics
                             athletics because
                                       because of
                                               of physiological
                                                  physiological differences between males
                                                                differences between males and
                                                                                          and

females. See Virginia,
females. See Virginia, 518 U.S. at
                       518 U.S. at 533; see also
                                   533; see also Clark
                                                 Clark v. Ariz. Interscholastic
                                                       v. Ariz. Interscholastic Ass
                                                                                Ass’n.,
                                                                                    'n., 695 F.2d
                                                                                         695 F.2d

1126, 1131
1126, 1131 (9th
           (9th Cir.
                Cir. 1982)
                     1982) (excluding
                           (excluding males
                                      males from the girls'
                                            from the girls’ volleyball
                                                            volleyball team
                                                                       team because
                                                                            because it
                                                                                    it is
                                                                                       is aa

“physiological fact"
"physiological fact” that
                     that "males
                          “males would
                                 would have an undue
                                       have an undue advantage
                                                     advantage competing
                                                               competing against
                                                                         against women).
                                                                                 women).

        Plaintiff cites
        Plaintiff       (and misquotes)
                  cites (and misquotes) Grimm
                                        Grimm v.
                                              v. Gloucester
                                                 Gloucester Cnty. Sch. Bd.,
                                                            Cnty. Sch. Bd., 972 F.3d 586,
                                                                            972 F.3d      610 (4th
                                                                                     586, 610 (4th

Cir. 2020),
Cir. 2020), as
            as amended
               amended (Aug.
                       (Aug. 28,
                             28, 2020),
                                 2020), cert. denied, 141
                                        cert. denied, 141 S. Ct. 2878,
                                                          S. Ct. 2878, (2021). ECF 291
                                                                       (2021). ECF 291 at
                                                                                       at 17.
                                                                                          17.

But the
But the holding
        holding of
                of Grimm, while ruling
                   Grimm, while ruling on
                                       on the
                                          the school
                                              school bathroom
                                                     bathroom usage
                                                              usage for one specific
                                                                    for one specific student,
                                                                                     student,

does not
does not apply
         apply here.
               here. Grimm does not
                     Grimm does not interpret
                                    interpret Title
                                              Title IX or its
                                                    IX or its implementing regulations as
                                                              implementing regulations as they
                                                                                          they

relate to
relate to athletics.
          athletics. Indeed,
                     Indeed, it never once
                             it never once mentioned
                                           mentioned 34 C.F.R. §
                                                     34 C.F.R. § 106.41,
                                                                 106.41, the
                                                                         the Title
                                                                             Title IX regulation at
                                                                                   IX regulation at


14
14
      Testosterone,
      Testosterone,  Total,
                     Total,   Bioavailable,
                              Bioavailable,     and
                                                and    Free,
                                                       Free,    Serum,
                                                                Serum,     MAYO
                                                                           MAYO       CLINIC
                                                                                      CLINIC    L ABORATORIES,
                                                                                                LABORATORIES,
https://www.mayocliniclabs.com/test-catalog/overview/83686#Clinical-and-Interpretive (accessed
https://www.mayocliniclabs.comitest-catalogioverview/83686#Clinical-and-Interpretive (accessed May
                                                                                               May 11,
                                                                                                   11, 2022).
                                                                                                       2022).

                                                     10
                                                     10
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issue here.
issue here. In
            In fact,
               fact, Grimm determined that
                     Grimm determined that the
                                           the policy,
                                               policy, as-applied
                                                       as-applied to
                                                                  to that
                                                                     that transgender
                                                                          transgender male,
                                                                                      male, was
                                                                                            was not
                                                                                                not

substantially related
substantially related to
                      to the governmental interest
                         the governmental          of privacy
                                          interest of privacy in
                                                              in that
                                                                 that case
                                                                      case because
                                                                           because plaintiff
                                                                                   plaintiff Grimm,
                                                                                             Grimm,

aa high
   high school
        school student,
               student, had
                        had "physical
                            “physical features
                                      features commonly
                                               commonly associated
                                                        associated with
                                                                   with the
                                                                        the male
                                                                            male sex."
                                                                                 sex.” Id.
                                                                                       Id. at
                                                                                           at 621
                                                                                              621

(Wynn J.
(Wynn    Concurring).
      J. Concurring).

          There are no
          There are no privacy
                       privacy issues here. And
                               issues here. And while
                                                while changing
                                                      changing physical
                                                               physical appearance
                                                                        appearance may
                                                                                   may ameliorate
                                                                                       ameliorate

privacy concerns
privacy concerns in
                 in properly
                    properly re-configured
                             re-configured bathrooms
                                           bathrooms (as
                                                     (as the
                                                         the school
                                                             school district
                                                                    district had
                                                                             had done),
                                                                                 done), identifying
                                                                                        identifying

as female,
as         even if
   female, even if accompanied
                   accompanied by
                               by puberty
                                  puberty blockers
                                          blockers or
                                                   or hormone
                                                      hormone treatment,
                                                              treatment, does not eliminate
                                                                         does not eliminate male
                                                                                            male

performance advantages
performance advantages or
                       or safety
                          safety concerns in girls'
                                 concerns in girls’ sports.
                                                    sports. See
                                                            See infra
                                                                infra Section B.4.a.
                                                                      Section B.4.a.

          Under Bostock
          Under Bostock and
                        and the
                            the controlling
                                controlling regulations,
                                            regulations, Section 25d does
                                                         Section 25d does treat
                                                                          treat similarly
                                                                                similarly situated
                                                                                          situated

people the
people the same.
           same. As
                 As noted,
                    noted, Title
                           Title IX
                                 IX athletic
                                    athletic regulations
                                             regulations contemplate
                                                         contemplate two
                                                                     two sexes
                                                                         sexes based
                                                                               based on
                                                                                     on biological
                                                                                        biological

sex. It
sex. It does
        does not contemplate segregating
             not contemplate segregating sports
                                         sports based
                                                based on
                                                      on multifarious
                                                         multifarious genders
                                                                      genders (see
                                                                              (see Kidd
                                                                                   Kidd Dep.
                                                                                        Dep. at
                                                                                             at

63:13-64:4,
63:13-64:4, ECF No. 285-9)
            ECF No. 285-9) or
                           or on
                              on athletes
                                 athletes whose
                                          whose "gender
                                                “gender identity”
                                                        identity" either changes or
                                                                  either changes or whose
                                                                                    whose

understanding of
understanding of gender
                 gender "can
                        “can change
                             change over
                                    over time."
                                         time.” See
                                                See Janssen Dep. at
                                                    Janssen Dep. at 47:1-6,
                                                                    47:1-6, ECF No. 285-3.
                                                                            ECF No. 285-3.

Under Title
Under Title IX and its
            IX and its unchallenged,
                       unchallenged, implemented regulations, schools
                                     implemented regulations, schools must
                                                                      must consider
                                                                           consider students'
                                                                                    students’

sex, not
sex, not identity,
         identity, when
                   when determining
                        determining whether
                                    whether male
                                            male and
                                                 and female
                                                     female student
                                                            student athletes
                                                                    athletes have
                                                                             have equal
                                                                                  equal

opportunities to
opportunities to participate.
                 participate. See
                              See generally,
                                  generally, McCormick
                                             McCormick v. Sch. Dist.
                                                       v. Sch. Dist. of
                                                                     of Mamaroneck,
                                                                        Mamaroneck, 370
                                                                                    370 F.3d
                                                                                        F.3d

275 (2d
275 (2d Cir.
        Cir. 2004).
             2004). There is aa lack
                    There is         of equal
                                lack of equal treatment
                                              treatment under
                                                        under Title IX when
                                                              Title IX when there
                                                                            there is “a difference,
                                                                                  is "a difference,

on the
on the basis
       basis of
             of sex,
                sex, in
                     in benefits"
                        benefits” "that
                                  “that has
                                        has aa negative
                                               negative impact on athletes
                                                        impact on athletes of
                                                                           of one
                                                                              one sex"
                                                                                  sex” compared
                                                                                       compared with
                                                                                                with

benefits, services,
benefits, services, or
                    or opportunities
                       opportunities available
                                     available to
                                               to athletes
                                                  athletes of
                                                           of the other sex."
                                                              the other sex.” Id.
                                                                              Id. at
                                                                                  at 293
                                                                                     293 (emphasis
                                                                                         (emphasis

added).
added).

          Ultimately, Plaintiff
          Ultimately, Plaintiff seeks
                                seeks to
                                      to have the State
                                         have the       (and most
                                                  State (and most other
                                                                  other Defendants)
                                                                        Defendants) improperly
                                                                                    improperly

categorize sports
categorize sports teams
                  teams on
                        on the
                           the basis
                               basis of
                                     of gender identity, thereby
                                        gender identity, thereby redefining
                                                                 redefining eligibility
                                                                            eligibility for
                                                                                        for

participation in
participation in women's
                 women’s sports.
                         sports. By
                                 By defining
                                    defining such
                                             such eligibility
                                                  eligibility on
                                                              on the
                                                                 the basis
                                                                     basis of
                                                                           of biological
                                                                              biological sex,
                                                                                         sex,



                                                 11
                                                 11
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however, Section
however,         25d disregards
         Section 25d disregards gender
                                gender identity—it
                                       identity—it does
                                                   does not
                                                        not discriminate “on the
                                                            discriminate "on the basis"
                                                                                 basis” of
                                                                                        of it.
                                                                                           it.

There is no
There is no Title
            Title IX           here.15
                     violation here.15
                  IX violation

B. Plaintiff’s
B. Plaintiff's Equal
               Equal Protection
                     Protection Claim
                                Claim Fails.
                                      Fails.

          No State
          No       shall "deny
             State shall “deny to
                               to any
                                  any person
                                      person within
                                             within its jurisdiction the
                                                    its jurisdiction the equal protection of
                                                                         equal protection of the
                                                                                             the laws.”
                                                                                                 laws."

U.S. Const.
U.S. Const. amend.
            amend. XIV,
                   XIV, §
                        § 1.
                          1. The
                             The Equal Protection Clause
                                 Equal Protection Clause is “essentially aa direction
                                                         is "essentially    direction that
                                                                                      that all
                                                                                           all

persons similarly
persons similarly situated
                  situated should
                           should be
                                  be treated
                                     treated alike."
                                             alike.” City of Cleburne
                                                     City of Cleburne v.
                                                                      v. Cleburne Living Ctr.,
                                                                         Cleburne Living       473
                                                                                         Ctr., 473

U.S. 432,
U.S. 432, 439
          439 (1985)
              (1985) (emphasis added).
                     (emphasis added).                             The provision "simply
                                                                   The provision “simply keeps governmental
                                                                                         keeps governmental

decisionmakers from
decisionmakers from treating
                    treating differently persons who
                             differently persons who are
                                                     are in all relevant
                                                         in all relevant respects
                                                                         respects alike."
                                                                                  alike.”

Nordlinger v.
Nordlinger    Hahn, 505
           v. Hahn,     U.S. 1,
                    505 U.S. 1, 10
                                10 (1992)
                                   (1992) (emphasis
                                          (emphasis added).
                                                    added). It is "a
                                                            It is “a shield
                                                                     shield against
                                                                            against arbitrary
                                                                                    arbitrary

classifications.” Engquist
classifications." Engquist v.
                           v. Oregon Dep’t of
                              Oregon Dep't of Agr.,
                                              Agr., 553
                                                    553 U.S.
                                                        U.S. 591,
                                                             591, 598
                                                                  598 (2008). As such,
                                                                      (2008). As such, aa plaintiff
                                                                                          plaintiff

asserting aa violation
asserting    violation of
                       of the
                          the Equal Protection Clause
                              Equal Protection Clause must
                                                      must "demonstrate
                                                           “demonstrate that
                                                                        that he
                                                                             he has
                                                                                has been
                                                                                    been treated
                                                                                         treated

differently from
differently      others with
            from others with whom
                             whom he
                                  he is
                                     is similarly
                                        similarly situated
                                                  situated and
                                                           and that
                                                               that the
                                                                    the unequal
                                                                        unequal treatment
                                                                                treatment was
                                                                                          was the
                                                                                              the

result of
result of intentional or purposeful
          intentional or purposeful discrimination."
                                    discrimination.” Morrison
                                                     Morrison v.
                                                              v. Garraghty, 239 F.3d
                                                                 Garraghty, 239 F.3d 648,
                                                                                     648, 654 (4th
                                                                                          654 (4th

Cir. 2001).
Cir. 2001). Biological
            Biological male
                       male athletes
                            athletes identifying as female
                                     identifying as        are not
                                                    female are     similarly situated
                                                               not similarly situated in
                                                                                      in all
                                                                                         all relevant
                                                                                             relevant

respects to
respects to biological
            biological female
                       female athletes.
                              athletes. See supra at
                                        See supra at pp.
                                                     pp. 9-11.
                                                         9-11.

          By contrast,
          By contrast, Section 25d treats
                       Section 25d treats all
                                          all biological
                                              biological males
                                                         males the same, whether
                                                               the same, whether they
                                                                                 they identify
                                                                                      identify as
                                                                                               as

females or males.
females or males. It prohibits all
                  It prohibits all biological
                                   biological males
                                              males from participating in
                                                    from participating    female sports.
                                                                       in female sports. It
                                                                                         It also
                                                                                            also

treats all
treats all biological
           biological females the same
                      females the same regardless
                                       regardless of
                                                  of how
                                                     how they
                                                         they identify.
                                                              identify. Therefore, it does
                                                                        Therefore, it does not
                                                                                           not

discriminate against
discriminate against transgender
                     transgender athletes.
                                 athletes. See
                                           See Doe
                                               Doe 22 v. Shanahan, 755
                                                      v. Shanahan, 755 F.
                                                                       F. App'x.
                                                                          App’x. 19,
                                                                                 19, 23-25
                                                                                     23-25 (D.C.
                                                                                           (D.C.




15
   From the
15 From  the enactment
              enactment of  of the
                               the Title
                                   Title IX  women’s athletics
                                         IX women's    athletics regulations
                                                                 regulations until as late
                                                                             until as      as January
                                                                                      late as January 2021,
                                                                                                       2021, the
                                                                                                              the U.S.
                                                                                                                  U.S. Department
                                                                                                                       Department
of Education
of Education andand the
                      the Department
                           Department of of Justice have repeatedly
                                            Justice have  repeatedly taken
                                                                      taken aa position
                                                                               position consistent
                                                                                         consistent with
                                                                                                     with that
                                                                                                          that set forth in
                                                                                                               set forth in Section
                                                                                                                            Section
25d, both
25d,  both before
            before and
                     and after
                           after Bostock.
                                 Bostock. See
                                            See ECF
                                                ECF No.
                                                      No. 287
                                                           287 nn.14-16.
                                                               nn.14-16. ;; see
                                                                            see also
                                                                                also Statement
                                                                                      Statement ofof Interest of the
                                                                                                     Interest of the United
                                                                                                                     United States,
                                                                                                                             States,
Soule v.
Soule  v. Conn   Ass’n
          Conn Ass        of Schs.,
                       'n of Schs., 3:20-cv-00201
                                    3:20-cv-00201 (D.(D. Conn.
                                                          Conn. Mar.
                                                                 Mar. 24,
                                                                       24, 2020),
                                                                           2020), ECF
                                                                                   ECF No.
                                                                                         No. 75;  Br. of
                                                                                              75; Br. of United
                                                                                                         United States   as Amicus
                                                                                                                  States as Amicus
Curiae, Hecox
Curiae,  Hecox v.    Little, No.
                  v. Little,  No. 20-35813
                                   20-35813 (9th
                                              (9th Cir.
                                                    Cir. Nov.
                                                         Nov. 19,
                                                               19, 2020),
                                                                   2020), ECF
                                                                           ECF No.
                                                                                No. 45.
                                                                                      45. Thus,  the United
                                                                                           Thus, the  United States’
                                                                                                              States' Statement  of
                                                                                                                      Statement of
Interest  in this
Interest in  this case
                  case contradicts
                          contradicts its
                                       its long-held  view without
                                           long-held view    without subjecting   this new
                                                                      subjecting this  new interpretation
                                                                                             interpretation to
                                                                                                             to public
                                                                                                                public review
                                                                                                                        review and
                                                                                                                                and
comment.
comment.

                                                                12
                                                                12
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Cir. 2019)
Cir. 2019) (reversing
           (reversing aa finding that requiring
                         finding that requiring military
                                                military personnel
                                                         personnel to
                                                                   to serve
                                                                      serve in their biological
                                                                            in their biological sex
                                                                                                sex was
                                                                                                    was

aa blanket
   blanket transgender
           transgender ban).
                       ban).

          Assuming the
          Assuming the Court
                       Court continues
                             continues to
                                       to apply
                                          apply intermediate
                                                intermediate scrutiny
                                                             scrutiny (as
                                                                      (as it did in
                                                                          it did    the preliminary
                                                                                 in the preliminary

injunction order),
injunction order), the
                   the State
                       State first must show
                             first must show that
                                             that the
                                                  the "classification
                                                      “classification serves
                                                                      serves important governmental
                                                                             important governmental

objectives.” Virginia,
objectives."           518 U.S.
             Virginia, 518 U.S. at
                                at 524 (cleaned up).
                                   524 (cleaned up). For
                                                     For an
                                                         an objective
                                                            objective to
                                                                      to be
                                                                         be "important,"
                                                                            “important,” it
                                                                                         it cannot
                                                                                            cannot

stem from
stem      “overbroad generalizations
     from "overbroad                 about the
                     generalizations about the different talents, capacities,
                                               different talents, capacities, or
                                                                              or preferences
                                                                                 preferences of
                                                                                             of

males and
males and females.” Id. at
          females." Id. at 533.
                           533. The objective must
                                The objective must also
                                                   also be
                                                        be "genuine."
                                                           “genuine.” Id.
                                                                      Id. "[T]he
                                                                          “[T]he state
                                                                                 state must
                                                                                       must

persuasively show
persuasively show that
                  that certain
                       certain gender-based
                               gender-based classifications serve ‘important
                                            classifications serve            governmental
                                                                  `important governmental

objectives’ and
objectives' and that
                that the
                     the statute
                         statute in question is
                                 in question is ‘substantially
                                                `substantially related to the
                                                               related to the achievement
                                                                              achievement of
                                                                                          of those
                                                                                             those

objectives.’” Roubideaux
objectives.'" Roubideaux v. N.D. Dep't
                         v. N.D. Dep’t of
                                       of Corr. & Rehab.,
                                          Corr. & Rehab., 570 F.3d 966,
                                                          570 F.3d 966, 974 (8th Cir.
                                                                        974 (8th Cir. 2009)
                                                                                      2009)

(citing Ways
(citing Ways v.
             v. City of Lincoln,
                City of Lincoln, 331 F.3d 596,
                                 331 F.3d 596, 600 (8th Cir.
                                               600 (8th Cir. 2003).
                                                             2003). Contrary
                                                                    Contrary to
                                                                             to Plaintiff's
                                                                                Plaintiff’s assertion,
                                                                                            assertion,

there is
there    no requirement
      is no requirement that
                        that the
                             the legislature
                                 legislature fully enunciated the
                                             fully enunciated the governmental
                                                                  governmental interests
                                                                               interests at
                                                                                         at the
                                                                                            the time
                                                                                                time

it enacted
it enacted the
           the law.
               law.           In any event,
                              In any event, the
                                            the Legislature adequately gave
                                                Legislature adequately      notice of
                                                                       gave notice of the
                                                                                      the important
                                                                                          important

governmental interests
governmental interests when
                       when enacting
                            enacting the
                                     the law.
                                         law. See
                                              See infra at pp.
                                                  infra at pp. 17-19.
                                                               17-19.

          Second, the State
          Second, the       must show
                      State must show that
                                      that "the
                                           “the discriminatory
                                                discriminatory means
                                                               means employed are substantially
                                                                     employed are substantially

related to
related to the
           the achievement
               achievement of
                           of those
                              those objectives."
                                    objectives.” Virginia,
                                                 Virginia, 518 U.S. at
                                                           518 U.S. at 524 (cleaned up).
                                                                       524 (cleaned up). Notably,
                                                                                         Notably,

neither element
neither element of
                of the
                   the test
                       test requires
                            requires aa realized
                                        realized "problem";
                                                 “problem”; it
                                                            it is always appropriate
                                                               is always appropriate for
                                                                                     for legislatures
                                                                                         legislatures

to address
to address issues
           issues that,
                  that, as
                        as here,
                           here, have
                                 have been
                                      been around
                                           around for
                                                  for years
                                                      years or decades.16
                                                            or decades.16

          Importantly, this heightened
          Importantly, this            standard does
                            heightened standard does not
                                                     not mandate
                                                         mandate that
                                                                 that all
                                                                      all sex-based
                                                                          sex-based classifications
                                                                                    classifications

must fail;
must fail; rather,
           rather, the
                   the "[p]hysical
                       “[p]hysical differences
                                   differences between
                                               between men
                                                       men and
                                                           and women
                                                               women .. .. .. are
                                                                              are enduring” and render
                                                                                  enduring" and render




16
   Plaintiff’s brief
16 Plaintiff's brief asserts
                     asserts that
                             that the
                                  the State must show
                                      State must        “‘an actual
                                                  show "`an   actual problem'
                                                                     problem’ exists”
                                                                                exists" under    “heightened scrutiny,”
                                                                                         under "heightened                pointing
                                                                                                               scrutiny," pointing
to United
to         States v.
   United States      Playboy Ent.
                   v. Playboy  Ent. Grp.,  Inc., 529
                                     Grp., Inc.,     U.S. 803
                                                 529 U.S.  803 (2000).
                                                                (2000). See
                                                                         See Pl.
                                                                              Pl. MSJ
                                                                                  MSJ Memo.
                                                                                        Memo. at at 26,
                                                                                                     26, ECF
                                                                                                         ECF No.
                                                                                                              No. 291.
                                                                                                                  291. However,
                                                                                                                        However,
Playboy was
Playboy   was aa First
                  First Amendment
                        Amendment case,case, making
                                             making the
                                                     the "heightened
                                                         “heightened scrutiny”      there strict
                                                                        scrutiny" there   strict scrutiny—not
                                                                                                  scrutiny—not the
                                                                                                                 the intermediate
                                                                                                                     intermediate
scrutiny applicable
scrutiny  applicable in   an equal
                       in an equal protection
                                    protection case
                                               case such
                                                    such as
                                                          as the
                                                             the one  at bar.
                                                                 one at  bar. In  short, Playboy
                                                                              In short,  Playboy is is inapropos.
                                                                                                       inapropos.


                                                               13
                                                               13
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“the two
"the two sexes
         sexes .. .. .. not
                        not fungible."
                            fungible.” Virginia, 518 U.S.
                                       Virginia, 518 U.S. at
                                                          at 533 (cleaned up);
                                                             533 (cleaned up); accord
                                                                               accord Tuan Anh Nguyen
                                                                                      Tuan Anh Nguyen

v. INS, 533
v. INS,     U.S. 53,
        533 U.S. 53, 68
                     68 (2001).
                        (2001). Indeed, “[t]o fail
                                Indeed, "[t]o fail to
                                                   to acknowledge
                                                      acknowledge even
                                                                  even our
                                                                       our most
                                                                           most basic
                                                                                basic biological
                                                                                      biological

differences .. .. .. risks
differences          risks making
                           making the
                                  the guarantee
                                      guarantee of
                                                of equal protection superficial,
                                                   equal protection superficial, and
                                                                                 and so
                                                                                     so disserving
                                                                                        disserving it."
                                                                                                   it.”

Nguyen, 533
Nguyen,     U.S. at
        533 U.S. at 73.
                    73.           Accordingly, laws
                                  Accordingly,      may (and
                                               laws may (and should)
                                                             should) acknowledge
                                                                     acknowledge the
                                                                                 the physical
                                                                                     physical

differences between
differences between men
                    men and
                        and women,
                            women, so
                                   so long as such
                                      long as such sex-based
                                                   sex-based classifications
                                                             classifications do not "create
                                                                             do not “create or
                                                                                            or

perpetuate the
perpetuate the legal,
               legal, social,
                      social, and
                              and economic inferiority of
                                  economic inferiority of women."
                                                          women.” Virginia,
                                                                  Virginia, 518 U.S. at
                                                                            518 U.S. at 534; see,
                                                                                        534; see,

e.g., Nguyen,
e.g., Nguyen, 533
              533 U.S.
                  U.S. 53 (upholding law
                       53 (upholding law requiring
                                         requiring unmarried
                                                   unmarried citizen
                                                             citizen fathers, but not
                                                                     fathers, but not mothers,
                                                                                      mothers, to
                                                                                               to

officially acknowledge
officially acknowledge relationship
                       relationship to
                                    to foreign-born
                                       foreign-born child
                                                    child in
                                                          in order
                                                             order to
                                                                   to pass
                                                                      pass U.S.
                                                                           U.S. citizenship
                                                                                citizenship to
                                                                                            to such
                                                                                               such

child because
child because of
              of biological
                 biological differences between the
                            differences between the sexes).
                                                    sexes). In short, when
                                                            In short, when applying
                                                                           applying this
                                                                                    this standard,
                                                                                         standard,

the Supreme
the         Court takes
    Supreme Court takes "into
                        “into account
                              account actual
                                      actual differences
                                             differences between
                                                         between the
                                                                 the sexes,
                                                                     sexes, including
                                                                            including physical
                                                                                      physical

ones.” Clark,
ones."        695 F.2d
       Clark, 695 F.2d at
                       at 1129
                          1129 (citing
                               (citing Michael
                                       Michael M.
                                               M. v. Sonoma Cnty.
                                                  v. Sonoma       Superior Court,
                                                            Cnty. Superior        450 U.S.
                                                                           Court, 450 U.S. 464,
                                                                                           464,

468-69 (1981));
468-69 (1981)); see
                see Nguyen,
                    Nguyen, 533 U.S. at
                            533 U.S. at 73.
                                        73.

        Section 25d satisfies
        Section 25d satisfies intermediate scrutiny.
                              intermediate scrutiny.               It serves the
                                                                   It serves the important
                                                                                 important governmental
                                                                                           governmental

objectives long
objectives      recognized by
           long recognized by many
                              many international athletic organizations,
                                   international athletic organizations, the
                                                                         the SSAC, and Title
                                                                             SSAC, and       IX,
                                                                                       Title IX,

see 34
see 34 CFR
       CFR §
           § 106.41,
             106.41, namely
                     namely providing
                            providing equal
                                      equal athletic
                                            athletic opportunities
                                                     opportunities to
                                                                   to biological
                                                                      biological females
                                                                                 females and
                                                                                         and

protecting the
protecting the safety
               safety of
                      of biological
                         biological female
                                    female athletes.
                                           athletes. By
                                                     By precluding
                                                        precluding all
                                                                   all biological
                                                                       biological males—regardless
                                                                                  males—regardless

of their
of their gender
         gender identity—from
                identity—from competing
                              competing on
                                        on teams
                                           teams designated
                                                 designated for biological females,
                                                            for biological females, Section 25d
                                                                                    Section 25d

directly protects
directly protects these interests.17
                  these interests.17

             1. The
             1. The State
                    State has important governmental
                          has important governmental interests
                                                     interests for H.B. 3293.
                                                               for H.B. 3293.
        As stated
        As stated in
                  in the
                     the State’s MSJ Memo.
                         State's MSJ Memo. at
                                           at 11-13,
                                              11-13, the
                                                     the State has three
                                                         State has three important
                                                                         important interests
                                                                                   interests for
                                                                                             for

H.B. 3293—namely
H.B. 3293—namely providing
                 providing equal
                           equal athletic
                                 athletic opportunities
                                          opportunities to
                                                        to biological
                                                           biological females
                                                                      females and
                                                                              and protecting
                                                                                  protecting the
                                                                                             the




17
   Contrary to
17 Contrary to Plaintiffs
               Plaintiff’s claims,
                           claims, the
                                   the law does not
                                       law does not have
                                                    have an
                                                         an overly
                                                            overly broad
                                                                   broad sweep.
                                                                         sweep.  For example,
                                                                                 For           it does
                                                                                      example, it does not prohibit
                                                                                                       not prohibit
biological females
biological  females from joining teams
                    from joining teams of biological males
                                       of biological males because
                                                           because that
                                                                   that is
                                                                        is not
                                                                           not necessary
                                                                               necessary to
                                                                                         to meet
                                                                                            meet the
                                                                                                  the governmental
                                                                                                      governmental
objectives.
objectives.

                                                        14
                                                        14
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safety of
safety of biological
          biological female athletes, both
                     female athletes, both of
                                           of which
                                              which are
                                                    are consistent
                                                        consistent with,
                                                                   with, and
                                                                         and in
                                                                             in fulfillment
                                                                                fulfillment of
                                                                                            of Title
                                                                                               Title

IX.
IX.

       It is uncontested
       It is uncontested and
                         and well-established
                             well-established that
                                              that "[t]here
                                                   “[t]here is no question"
                                                            is no question” that
                                                                            that "promoting
                                                                                 “promoting equality
                                                                                            equality

of athletic
of athletic opportunity
            opportunity between
                        between the
                                the sexes"
                                    sexes” is “a legitimate
                                           is "a            and important
                                                 legitimate and important governmental
                                                                          governmental interest”
                                                                                       interest"

justifying rules
justifying       excluding males
           rules excluding males from
                                 from female sports. Clark,
                                      female sports.        695 F.2d
                                                     Clark, 695 F.2d at
                                                                     at 1131.
                                                                        1131. See
                                                                              See also,
                                                                                  also, 34
                                                                                        34 C.F.R
                                                                                           C.F.R

§ 106.41(b)
§ 106.41(b) (recognizing
            (recognizing the
                         the governmental
                             governmental interest
                                          interest of
                                                   of girls-only
                                                      girls-only teams
                                                                 teams under
                                                                       under Title
                                                                             Title IX). West
                                                                                   IX). West

Virginia followed
Virginia          the federal
         followed the         government’s long-standing
                      federal government's long-standing view,
                                                         view, stating:
                                                               stating: "[c]lassification
                                                                        “[c]lassification of
                                                                                          of teams
                                                                                             teams

according to
according to biological
             biological sex
                        sex is
                            is necessary
                               necessary to
                                         to promote
                                            promote equal
                                                    equal athletic
                                                          athletic opportunities
                                                                   opportunities for
                                                                                 for the
                                                                                     the female
                                                                                         female sex."
                                                                                                sex.”

W. Va.
W. Va. Code
       Code §18-2-25d(a)(5).
            §18-2-25d(a)(5).

       Safety for female
       Safety for        athletes is
                  female athletes is also
                                     also an
                                          an important
                                             important governmental
                                                       governmental interest for "contact
                                                                    interest for “contact sports"
                                                                                          sports”

including "boxing,
including “boxing, wrestling,
                   wrestling, rugby,
                              rugby, ice
                                     ice hockey,
                                         hockey, football,
                                                 football, basketball
                                                           basketball and
                                                                      and other
                                                                          other sports
                                                                                sports the
                                                                                       the purpose
                                                                                           purpose

or major
or major activity
         activity of
                  of which
                     which involves bodily contact.”
                           involves bodily           34 CFR
                                           contact." 34 CFR §
                                                            § 106.41(b).
                                                              106.41(b). The
                                                                         The SSAC’s 2015 board
                                                                             SSAC's 2015 board

policy (Ex.
policy (Ex. 6
            6 to
              to Dolan
                 Dolan Dep.
                       Dep. ECF
                            ECF No.
                                No. 285-1),
                                    285-1), while
                                            while not
                                                  not binding
                                                      binding (See
                                                              (See id. at 124:12-25),
                                                                   id. at 124:12-25), also
                                                                                      also

recognized the
recognized the importance
               importance of
                          of "the
                             “the safety
                                  safety of
                                         of teammates
                                            teammates or
                                                      or opposing
                                                         opposing players"
                                                                  players” in
                                                                           in the
                                                                              the context
                                                                                  context of
                                                                                          of

separate female
separate female athletic
                athletic teams.
                         teams. See
                                See id. at 117-119
                                    id. at 117-119 and
                                                   and Ex.
                                                       Ex. 6
                                                           6 thereto.
                                                             thereto. This reflects the
                                                                      This reflects the "inherent
                                                                                        “inherent

differences” which
differences" which "realistically
                   “realistically reflect
                                  reflect the
                                          the fact
                                              fact that
                                                   that the
                                                        the sexes
                                                            sexes are
                                                                  are not
                                                                      not similarly
                                                                          similarly situated"
                                                                                    situated” in
                                                                                              in the
                                                                                                 the

context of
context of contact
           contact sports.
                   sports. See
                           See W.
                               W. Va.
                                  Va. Code
                                      Code §18-2-25d(a)(2).
                                           §18-2-25d(a)(2). See
                                                            See generally
                                                                generally State’s MSJ Memo.
                                                                          State's MSJ Memo.

at 17-21,
at 17-21, ECF No. 287.
          ECF No. 287.

       Dr. Chad
       Dr. Chad Carlson,
                Carlson, MD,
                         MD, FACSM,
                             FACSM, the
                                    the only
                                        only safety
                                             safety expert
                                                    expert in this case,
                                                           in this case, concluded
                                                                         concluded that
                                                                                   that "[t]he
                                                                                        “[t]he

science of
science of sex-specific
           sex-specific differences
                        differences in
                                    in physiology,
                                       physiology, intersecting
                                                   intersecting with
                                                                with the
                                                                     the physics
                                                                         physics of
                                                                                 of sports
                                                                                    sports injury,
                                                                                           injury,

leaves little doubt
leaves little       that participation
              doubt that participation by
                                       by biological
                                          biological males
                                                     males in these types
                                                           in these types of
                                                                          of girls'
                                                                             girls’ or
                                                                                    or women's
                                                                                       women’s sports,
                                                                                               sports,

based on
based on gender identity, creates
         gender identity,         significant additional
                          creates significant additional risk of injury
                                                         risk of injury for
                                                                        for the
                                                                            the biologically
                                                                                biologically female
                                                                                             female

participants competing
participants           alongside these
             competing alongside these transgender
                                       transgender athletes."
                                                   athletes.” Carlson
                                                              Carlson Decl.
                                                                      Decl. at
                                                                            at 2,
                                                                               2, ECF No. 285-5.
                                                                                  ECF No. 285-5.



                                                 15
                                                 15
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World Rugby
World Rugby and
            and UK
                UK Sports Council reached
                   Sports Council reached the
                                          the same
                                              same conclusion. Id. Indeed,
                                                   conclusion. Id.         direct competition
                                                                   Indeed, direct competition

between males
between males and
              and females
                  females is “unsafe in
                          is "unsafe in sports
                                        sports which
                                               which allow
                                                     allow physical
                                                           physical contact
                                                                    contact and
                                                                            and collisions.” Id.
                                                                                collisions." Id.

at 3.
at 3.

        Finally, H.B.
        Finally, H.B. 3293
                      3293 is
                           is consistent
                              consistent with
                                         with and
                                              and supportive
                                                  supportive of
                                                             of the
                                                                the objectives
                                                                    objectives of
                                                                               of Title
                                                                                  Title IX and the
                                                                                        IX and the

Title IX athletic
Title IX athletic regulations
                  regulations —
                              – 34
                                34 C.F.R.
                                   C.F.R. §
                                          § 106.41.
                                            106.41. See
                                                    See Section A.1, supra
                                                        Section A.1, supra and
                                                                           and Section B.2, infra.
                                                                               Section B.2, infra.

           2. The
           2. The stated
                  stated governmental
                         governmental interests are not
                                      interests are     prohibited post
                                                    not prohibited post hoc
                                                                        hoc rationales.
                                                                            rationales.

        Plaintiff cites
        Plaintiff cites Virginia,
                        Virginia, 518 U.S. at
                                  518 U.S. at 533 for the
                                              533 for the proposition
                                                          proposition that
                                                                      that this
                                                                           this Court
                                                                                Court should
                                                                                      should reject the
                                                                                             reject the

State’s governmental interests
State's governmental interests of
                               of safety
                                  safety and
                                         and compliance with Title
                                             compliance with Title IX as impermissible
                                                                   IX as impermissible "post
                                                                                       “post hoc"
                                                                                             hoc”

justifications. First,
justifications. First, Virginia does not
                       Virginia does not require
                                         require that
                                                 that aa legislature
                                                         legislature fully
                                                                     fully enunciate its governmental
                                                                           enunciate its governmental

interest prior
interest prior to
               to the
                  the passage
                      passage of
                              of aa law
                                    law and
                                        and second,
                                            second, even if it
                                                    even if it did, the Legislature
                                                               did, the             provided ample
                                                                        Legislature provided ample

notification and
notification and justification
                 justification of
                               of these
                                  these governmental interests at
                                        governmental interests at the
                                                                  the time
                                                                      time of
                                                                           of passage.
                                                                              passage.

        In
        In Virginia, the Court
           Virginia, the Court explained
                               explained "[t]he
                                         “[t]he justification
                                                justification must
                                                              must be
                                                                   be genuine, not hypothesized
                                                                      genuine, not hypothesized or
                                                                                                or

invented post
invented post hoc
              hoc in response to
                  in response to litigation.
                                 litigation. And
                                             And it
                                                 it must
                                                    must not
                                                         not rely on overbroad
                                                             rely on overbroad generalizations
                                                                               generalizations about
                                                                                               about

the different
the different talents,
              talents, capacities,
                       capacities, or
                                   or preferences
                                      preferences of
                                                  of males
                                                     males and
                                                           and females."
                                                               females.” Virginia,
                                                                         Virginia, 518 U.S. at
                                                                                   518 U.S. at 533.
                                                                                               533.

The
The key is not
    key is not when
               when the
                    the governmental
                        governmental interest was enunciated,
                                     interest was enunciated, it
                                                              it is
                                                                 is whether
                                                                    whether the
                                                                            the interest
                                                                                interest is
                                                                                         is

“genuine.” In
"genuine." In Virginia, the Court
              Virginia, the Court was
                                  was skeptical
                                      skeptical of
                                                of the
                                                   the genuineness of the
                                                       genuineness of the State of Virginia's
                                                                          State of Virginia’s stated
                                                                                              stated

governmental interest
governmental interest of
                      of educational
                         educational diversity.
                                     diversity.        Virginia, 518 U.S.
                                                       Virginia, 518 U.S. at
                                                                          at 536-537.
                                                                             536-537. The
                                                                                      The Court
                                                                                          Court

concluded that
concluded that "Virginia's
               “Virginia’s alleged
                           alleged pursuit
                                   pursuit of
                                           of diversity through single-sex
                                              diversity through single-sex educational options” was
                                                                           educational options" was

neither genuine
neither genuine nor
                nor found
                    found in
                          in the
                             the history
                                 history of
                                         of the
                                            the institution,
                                                institution, and,
                                                             and, in
                                                                  in fact,
                                                                     fact, "a
                                                                           “a range
                                                                              range of
                                                                                    of educational
                                                                                       educational

opportunities for
opportunities for men
                  men and
                      and women
                          women was
                                was scarcely
                                    scarcely contemplated"
                                             contemplated” in 1839, when
                                                           in 1839, when VMI
                                                                         VMI was
                                                                             was established
                                                                                 established

by the
by the Commonwealth.
       Commonwealth. Id.
                     Id. at
                         at 536.
                            536.

        The opposite is
        The opposite is true
                        true for
                             for the
                                 the Save Women’s Sports
                                     Save Women's        Act. The
                                                  Sports Act. The State’s important governmental
                                                                  State's important governmental

interests are
interests are not
              not only
                  only genuine
                       genuine and
                               and obvious—as
                                   obvious—as explained
                                              explained above—but
                                                        above—but they
                                                                  they are
                                                                       are apparent
                                                                           apparent from the
                                                                                    from the



                                                  16
                                                  16
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preamble and
preamble and text
             text of
                  of the
                     the law,
                         law, the
                              the limited legislative history,
                                  limited legislative history, and
                                                               and the
                                                                   the location
                                                                       location of
                                                                                of the
                                                                                   the statutes
                                                                                       statutes that
                                                                                                that

precede them
precede them in
             in the
                the code.
                    code.

         First, the
         First, the preamble
                    preamble (1)
                             (1) explicitly mentions "Classification
                                 explicitly mentions “Classification of
                                                                     of teams
                                                                        teams according
                                                                              according to
                                                                                        to biological
                                                                                           biological

sex is
sex is necessary
       necessary to
                 to promote
                    promote equal athletic opportunities
                            equal athletic opportunities for the female
                                                         for the        sex” (W.
                                                                 female sex" (W. Va.
                                                                                 Va. Code
                                                                                     Code §
                                                                                          § 18-2-
                                                                                            18-2-

25d(a)(5)); (2)
25d(a)(5)); (2) references
                references safety
                           safety issues,
                                  issues, explaining
                                          explaining "Mil
                                                     “[i]n the
                                                           the context
                                                               context of
                                                                       of sports
                                                                          sports involving
                                                                                 involving .. .. ..

contact,18 biological
contact,18 biological males
                      males and
                            and biological
                                biological females are not
                                           females are not in
                                                           in fact similarly situated"
                                                              fact similarly situated” (id.)
                                                                                       (id.) (emphasis
                                                                                             (emphasis

added); and
added); and (3)
            (3) addresses
                addresses Title
                          Title IX by using
                                IX by using the
                                            the exact
                                                exact language contained in
                                                      language contained    the Title
                                                                         in the       IX athletic
                                                                                Title IX athletic

regulations, stating
regulations, stating that
                     that female
                          female designated
                                 designated athletic
                                            athletic teams
                                                     teams "shall
                                                           “shall not
                                                                  not be
                                                                      be open
                                                                         open to
                                                                              to students
                                                                                 students of
                                                                                          of the
                                                                                             the male
                                                                                                 male

sex where
sex where selection
          selection for
                    for such
                        such teams
                             teams is
                                   is based
                                      based upon competitive skill
                                            upon competitive skill or
                                                                   or the activity involved
                                                                      the activity involved is
                                                                                            is aa

contact sport."
contact sport.” W.
                W. Va.
                   Va. Code
                       Code §18-2-25d(c)(2)
                            §18-2-25d(c)(2) (emphasis
                                            (emphasis added).
                                                      added). (Cf
                                                              (Cf. 34
                                                                   34 C.F.R.
                                                                      C.F.R. §
                                                                             § 106.41(b)
                                                                               106.41(b)

(allowing "separate
(allowing “separate teams
                    teams for members of
                          for members of each
                                         each sex
                                              sex where
                                                  where selection
                                                        selection for
                                                                   for such
                                                                       such teams
                                                                            teams is
                                                                                  is based
                                                                                     based upon
                                                                                           upon

competitive skill
competitive skill or
                  or the activity involved
                     the activity involved is a contact
                                           is a contact sport")
                                                        sport”) (emphasis
                                                                (emphasis added)).
                                                                          added)).

         Second, the legislative
         Second, the legislative history of the
                                 history of the law,
                                                law, which
                                                     which is
                                                           is limited to the
                                                              limited to the various
                                                                             various versions
                                                                                     versions of
                                                                                              of the
                                                                                                 the

law, shows that
law, shows that the
                the legislature was addressing
                    legislature was addressing these
                                               these important governmental interests.
                                                     important governmental interests. The
                                                                                       The

original bill
original bill would
              would have
                    have modified
                         modified W.
                                  W. Va.
                                     Va. Code
                                         Code §
                                              § 18-2-25c
                                                18-2-25c and
                                                         and required
                                                             required that
                                                                      that the
                                                                           the student's
                                                                               student’s sex
                                                                                         sex

“shall be
"shall be the
          the pupil's
              pupil’s sex
                      sex for the purposes
                          for the purposes of
                                           of participating
                                              participating in
                                                            in single-sex
                                                               single-sex secondary
                                                                          secondary school
                                                                                    school

interscholastic athletic
interscholastic athletic events"
                         events” irrespective
                                 irrespective of
                                              of whether
                                                 whether it
                                                         it was
                                                            was aa competitive
                                                                   competitive or
                                                                               or contact sport.19 The
                                                                                  contact sport.19 The

law as passed
law as passed by
              by both
                 both houses narrowed the
                      houses narrowed the bill
                                          bill to
                                               to only
                                                  only cover the above-referenced
                                                       cover the above-referenced governmental
                                                                                  governmental

interests.
interests.

         Finally, the
         Finally, the purposes
                      purposes of
                               of the
                                  the law
                                      law are
                                          are manifest
                                              manifest in its location
                                                       in its          within the
                                                              location within the West
                                                                                  West Virginia
                                                                                       Virginia Code.
                                                                                                Code.

Section 18-2-25d follows
Section 18-2-25d         after (a)
                 follows after (a) the
                                   the athletic
                                       athletic safety
                                                safety provisions
                                                       provisions (in
                                                                  (in educational
                                                                      educational settings)
                                                                                  settings) governing
                                                                                            governing



18
   While it
18 While    should be
         it should be obvious that contact
                      obvious that contact sports raise safety
                                           sports raise safety issues,
                                                               issues, sports literature which
                                                                       sports literature which long preceded this
                                                                                               long preceded this law
                                                                                                                  law has
                                                                                                                      has
well documented
well documented the
                  the safety risks of
                      safety risks of contact
                                      contact sports.
                                              sports. See
                                                      See Carlson
                                                          Carlson Decl.
                                                                  Decl. at
                                                                        at ¶¶ 22-78,
                                                                              22-78, ECF
                                                                                     ECF No.
                                                                                         No. 285-5.
                                                                                             285-5.
19
   See Ex.
19 See Ex. G,
           G, originating
              originating H.B.
                          H.B. 3293,
                                3293, amending
                                       amending §18-25-5c.
                                                 §18-25-5c.

                                                          17
                                                          17
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concussions and
concussions and head
                head injuries (18-2-25a); (b)
                     injuries (18-2-25a); (b) the
                                              the emergency
                                                  emergency action
                                                            action plans
                                                                   plans for
                                                                         for responding
                                                                             responding to
                                                                                        to injuries
                                                                                           injuries

(18-2-25b); and
(18-2-25b); and (c)
                (c) the
                    the requirement
                        requirement for
                                    for defibrillators
                                        defibrillators at
                                                       at certain
                                                          certain events
                                                                  events (18-2-25c).
                                                                         (18-2-25c). The government
                                                                                     The government

need not
need not "offer
         “offer evidence
                evidence of
                         of [a]
                            [a] localized"
                                localized” impact,
                                           impact, "but
                                                   “but rather
                                                        rather can
                                                               can rely
                                                                   rely upon
                                                                        upon the
                                                                             the experiences
                                                                                 experiences of
                                                                                             of

other communities[.]”
other communities[.]" Ways, 331 F.3d
                      Ways, 331 F.3d at
                                     at 599 (citing Farkas
                                        599 (citing Farkas v. Miller, 151
                                                           v. Miller, 151 F.3d
                                                                          F.3d 900,
                                                                               900, 903 (1998)).
                                                                                    903 (1998)).

That principle certainly
That principle certainly applies
                         applies here
                                 here based
                                      based on
                                            on the
                                               the history
                                                   history of
                                                           of the
                                                              the issue
                                                                  issue leading up to
                                                                        leading up to the
                                                                                      the passage
                                                                                          passage of
                                                                                                  of

this law.
this law. See
          See State’s MSJ Memo.
              State's MSJ Memo. at
                                at 1-4,
                                   1-4, ECF No. 287.
                                        ECF No. 287. Thus, there can
                                                     Thus, there can be
                                                                     be little doubt that
                                                                        little doubt that these
                                                                                          these

are genuine
are genuine governmental
            governmental concerns,
                         concerns, not
                                   not some
                                       some post
                                            post hoc
                                                 hoc justifications
                                                     justifications made
                                                                    made up
                                                                         up 100
                                                                            100 years
                                                                                years post-
                                                                                      post-

enactment, as
enactment, as was
              was the
                  the case
                      case in
                           in Virginia.
                              Virginia.

            3. H.B.
            3. H.B. 3293
                    3293 is
                         is not the product
                            not the         of animus.
                                    product of animus.

        Plaintiff makes
        Plaintiff makes the
                        the scurrilous
                            scurrilous and
                                       and unsubstantiated
                                           unsubstantiated accusation
                                                           accusation that
                                                                      that the
                                                                           the State of enacted
                                                                               State of enacted the
                                                                                                the

statute based
statute based on
              on "fear
                 “fear and
                       and disapproval of transgender
                           disapproval of transgender women"
                                                      women” (Pl.
                                                             (Pl. MSJ
                                                                  MSJ Memo.
                                                                      Memo. at
                                                                            at 33,
                                                                               33, ECF No.
                                                                                   ECF No.

291) and
291) and "fear,
         “fear, discomfort
                discomfort or
                           or moral
                              moral disapproval."
                                    disapproval.” Id.
                                                  Id. at
                                                      at 34.
                                                         34. Plaintiff's
                                                             Plaintiff’s "evidence"
                                                                         “evidence” for
                                                                                    for this
                                                                                        this is
                                                                                             is

isolated hearsay
isolated hearsay and
                 and double hearsay comments
                     double hearsay comments allegedly
                                             allegedly made
                                                       made by
                                                            by aa few
                                                                  few legislators
                                                                      legislators (Pl MSJ Memo.
                                                                                  (P1 MSJ Memo.

at 8,
at    ECF No.
   8, ECF No. 291),
              291), which
                    which Plaintiff
                          Plaintiff mischaracterizes
                                    mischaracterizes as
                                                     as "legislative
                                                        “legislative history."
                                                                     history.” This
                                                                               This is
                                                                                    is wrong
                                                                                       wrong and
                                                                                             and

these comments
these comments may
               may not be considered
                   not be considered in
                                     in evaluating the validity
                                        evaluating the validity of
                                                                of the
                                                                   the governmental
                                                                       governmental interest.
                                                                                    interest.

        If
        If aa court,
              court, whether
                     whether state
                             state or
                                   or federal, seeks to
                                      federal, seeks to discern legislative intent
                                                        discern legislative intent outside
                                                                                   outside the
                                                                                           the statute
                                                                                               statute

itself, it
itself, it must
           must follow
                follow the
                       the interpretive
                           interpretive laws of the
                                        laws of the subject
                                                    subject state.
                                                            state. "Statutory
                                                                   “Statutory interpretation
                                                                              interpretation is
                                                                                             is aa question
                                                                                                   question

of law."
of law.” Minn.
         Minn. Supply
               Supply Co.
                      Co. v. Raymond Corp.,
                          v. Raymond        472 F.3d
                                     Corp., 472 F.3d 524,
                                                     524, 537 (8th Cir.2006).
                                                          537 (8th Cir.2006). This Court
                                                                              This Court

adopted the
adopted the West Virginia Supreme
            West Virginia         Court of
                          Supreme Court of Appeals'
                                           Appeals’ holding
                                                    holding that
                                                            that "a
                                                                 “a statute
                                                                    statute must
                                                                            must be
                                                                                 be construed
                                                                                    construed

in accordance
in accordance with
              with the
                   the import
                       import of
                              of its
                                 its language.” Hinkle v.
                                     language." Hinkle    Matthews, 337
                                                       v. Matthews, 337 F.
                                                                        F. Supp. 3d 674,
                                                                           Supp. 3d 674, 681
                                                                                         681

(S.D.W. Va.
(S.D.W. Va. 2018),
            2018), aff'd
                   aff’d sub
                         sub nom.
                             nom. Hinkle
                                  Hinkle v. Safe-Guard Prod.
                                         v. Safe-Guard Prod. Int'l,
                                                             Int’l, LLC,
                                                                    LLC, 839 F. App'x
                                                                         839 F. App’x 770
                                                                                      770 (4th
                                                                                          (4th

Cir. 2020)
Cir. 2020) (citing
           (citing Syl. Pt. 4,
                   Syl. Pt. 4, Osborne
                               Osborne v.
                                       v. United
                                          United States, 211 W.
                                                 States, 211 W. Va.
                                                                Va. 667,
                                                                    667, 567
                                                                         567 S.E.2d
                                                                             S.E.2d 677
                                                                                    677 (2002)).
                                                                                        (2002)).

See also,
See also, Fargo
          Fargo Women’s Health Org.
                Women's Health Org. v. Schafer, 18
                                    v. Schafer, 18 F.3d
                                                   F.3d 526, 530–31 (1994)
                                                        526, 530-31 (1994) (applying
                                                                           (applying North
                                                                                     North



                                                    18
                                                    18
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Dakota principles
Dakota principles of
                  of statutory
                     statutory interpretation
                               interpretation in
                                              in considering
                                                 considering the
                                                             the constitutionality
                                                                 constitutionality of
                                                                                   of aa North
                                                                                         North Dakota
                                                                                               Dakota

law).
law).

        Under West
        Under West Virginia
                   Virginia law,
                            law, legislators’ statements cannot
                                 legislators' statements cannot be
                                                                be legislative history. The
                                                                   legislative history. The West
                                                                                            West

Virginia Supreme
Virginia         Court of
         Supreme Court of Appeals
                          Appeals has
                                  has rejected
                                      rejected them
                                               them for any evidentiary
                                                    for any evidentiary purposes.
                                                                        purposes. Phillips
                                                                                  Phillips v.
                                                                                           v.

Larry’s Drive-In
Larry's Drive-In Pharmacy,
                 Pharmacy, Inc.,
                           Inc., 220
                                 220 W.
                                     W. Va.
                                        Va. 484,
                                            484, 489,
                                                 489, 647
                                                      647 S.E.2d
                                                          S.E.2d 920 (2007). In
                                                                 920 (2007).    that case,
                                                                             In that case, the
                                                                                           the

court rejected
court rejected them
               them as
                    as "[un]corroborated
                       “[un]corroborated by
                                         by the
                                            the legislative
                                                legislative history because the
                                                            history because the Legislature
                                                                                Legislature failed
                                                                                            failed

to preserve
to preserve any
            any record of the
                record of     committee meetings
                          the committee meetings to
                                                 to which
                                                    which the
                                                          the affidavits
                                                              affidavits refer."
                                                                         refer.” Id.
                                                                                 Id. (emphasis
                                                                                     (emphasis

added). In
added).    other words,
        In other words, committee reports, not
                        committee reports, not legislator
                                               legislator statements—even
                                                          statements—even sworn
                                                                          sworn statements—
                                                                                statements—

are not
are not legislative history. Moreover,
        legislative history. Moreover, "courts
                                       “courts should
                                               should not
                                                      not be
                                                          be placed
                                                             placed in the position
                                                                    in the position of
                                                                                    of passing
                                                                                       passing upon
                                                                                               upon

the credibility
the credibility of
                of legislators and ex-legislators.
                   legislators and ex-legislators.       A court
                                                         A court should
                                                                 should also
                                                                        also recognize
                                                                             recognize that
                                                                                       that ‘the
                                                                                            `the

understanding of
understanding of one
                 one or
                     or aa few members of
                           few members of the
                                          the Legislature is not
                                              Legislature is not necessarily
                                                                 necessarily determinative of
                                                                             determinative of

legislative
legislative intent.’” Id. Further,
            intent.'" Id. Further, "no
                                   “no guarantee
                                       guarantee can
                                                 can issue
                                                     issue that
                                                           that those
                                                                those who
                                                                      who supported
                                                                          supported [a
                                                                                    [a legislator's]
                                                                                       legislator’s]

proposal shared
proposal shared his
                his view
                    view of
                         of its compass.” Id.
                            its compass." Id. (cleaned
                                              (cleaned up).
                                                       up).

        Plaintiff’s tendered
        Plaintiff's tendered legislator-statements are even
                             legislator-statements are      more tenuous
                                                       even more tenuous than
                                                                         than those
                                                                              those in
                                                                                    in Phillips
                                                                                       Phillips

because they
because they are
             are not
                 not even
                     even sworn
                          sworn statements.
                                statements.           They are simply
                                                      They are simply hearsay
                                                                      hearsay statements,
                                                                              statements, hearsay
                                                                                          hearsay

Facebook posts
Facebook posts and
               and thumbs
                   thumbs up
                          up clicks. Plaintiff did
                             clicks. Plaintiff did not
                                                   not even attempt to
                                                       even attempt to depose
                                                                       depose those
                                                                              those individuals
                                                                                    individuals

to learn,
to learn, under oath, the
          under oath, the validity
                          validity and
                                   and meaning
                                       meaning of
                                               of such
                                                  such unreliable
                                                       unreliable social
                                                                  social media
                                                                         media posts.
                                                                               posts. Even if
                                                                                      Even if

individual legislators'
individual legislators’ statements
                        statements were
                                   were relevant,
                                        relevant, only
                                                  only aa few
                                                          few legislators out of
                                                              legislators out of the
                                                                                 the 134
                                                                                     134 legislators
                                                                                         legislators

made any
made any arguably
         arguably objectionable
                  objectionable statements.
                                statements. That
                                            That can
                                                 can hardly
                                                     hardly represent the sense
                                                            represent the sense of
                                                                                of the
                                                                                   the entire
                                                                                       entire

lawmaking body. Indeed,
lawmaking body.         the Fourth
                Indeed, the Fourth Circuit
                                   Circuit reversed
                                           reversed the
                                                    the district court because
                                                        district court because it
                                                                               it admitted
                                                                                  admitted "over
                                                                                           “over

the appellants'
the appellants’ objections,
                objections, the
                            the testimony
                                testimony of
                                          of present
                                             present and
                                                     and past
                                                         past members
                                                              members of
                                                                      of the
                                                                         the General
                                                                             General Assembly
                                                                                     Assembly as
                                                                                              as

to legislative
to legislative motive."
               motive.” S.C.
                        S.C. Educ.
                             Educ. Ass'n
                                   Ass’n v.
                                         v. Campbell,
                                            Campbell, 883 F.2d 1251,
                                                      883 F.2d 1251, 1260
                                                                     1260 (4th
                                                                          (4th Cir.
                                                                               Cir. 1989).
                                                                                    1989). This
                                                                                           This

Court should
Court should reject Plaintiff’s proffered
             reject Plaintiff's proffered statements.
                                          statements.



                                                 19
                                                 19
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       Plaintiff also
       Plaintiff also incorrectly
                      incorrectly claims that the
                                  claims that the law “targets” transgender
                                                  law "targets" transgender girls. It does
                                                                            girls. It does not.
                                                                                           not. It
                                                                                                It does
                                                                                                   does

exactly what
exactly what it says it
             it says it does—it targets fairness
                        does—it targets fairness in
                                                 in competitive girls’ sports
                                                    competitive girls' sports and
                                                                              and girls'
                                                                                  girls’ safety
                                                                                         safety in
                                                                                                in

contact sports.
contact sports. The word "transgender"
                The word “transgender” or
                                       or any
                                          any derivative
                                              derivative thereof
                                                         thereof does
                                                                 does not
                                                                      not appear
                                                                          appear in
                                                                                 in either the
                                                                                    either the

original bill
original bill or
              or the
                 the bill
                     bill as
                          as adopted.
                             adopted. While
                                      While aa few
                                               few legislators
                                                   legislators did
                                                               did use
                                                                   use that
                                                                       that terminology
                                                                            terminology as
                                                                                        as aa shorthand
                                                                                              shorthand

reference, H.B.
reference, H.B. 3293
                3293 does
                     does not.
                          not. Plaintiff's
                               Plaintiff’s ongoing
                                           ongoing efforts
                                                   efforts to
                                                           to twist
                                                              twist the
                                                                    the intent
                                                                        intent and
                                                                               and wording
                                                                                   wording of
                                                                                           of the
                                                                                              the

statute are
statute are misleading.
            misleading.

       Moreover, the
       Moreover, the Legislature did not
                     Legislature did not "target"
                                         “target” transgender
                                                  transgender girls
                                                              girls or
                                                                    or respond out of
                                                                       respond out of aa "fear
                                                                                         “fear of
                                                                                               of”

or "disapproval
or “disapproval of
                of transgender
                   transgender people."
                               people.” The
                                        The Legislature did not,
                                            Legislature did not, for example, disapprove
                                                                 for example,            of their
                                                                              disapprove of their

lifestyle, require them
lifestyle, require them to
                        to dress according to
                           dress according to their
                                              their natal
                                                    natal sex
                                                          sex stereotype,
                                                              stereotype, require
                                                                          require that
                                                                                  that they
                                                                                       they use
                                                                                            use their
                                                                                                their

birth names
birth names in
            in school
               school or
                      or their
                         their natal
                               natal sex
                                     sex pronouns,
                                         pronouns, prohibit
                                                   prohibit them
                                                            them from participating in
                                                                 from participating    any sports
                                                                                    in any sports at
                                                                                                  at

all, or
all, or segregate
        segregate them
                  them from other students
                       from other students in the classroom
                                           in the           or elsewhere.
                                                  classroom or elsewhere. To the contrary,
                                                                          To the contrary, there
                                                                                           there is
                                                                                                 is

absolutely no
absolutely no suggestion
              suggestion in any laws,
                         in any laws, rules, regulations, legislative
                                      rules, regulations,             pronouncements, or
                                                          legislative pronouncements, or otherwise
                                                                                         otherwise

that they
that they are
          are to
              to be
                 be treated
                    treated with
                            with anything
                                 anything other
                                          other than
                                                than respect and courtesy,
                                                     respect and           and there
                                                                 courtesy, and there is nothing in
                                                                                     is nothing in

the history
the history of
            of H.B.
               H.B. 3293
                    3293 to
                         to indicate otherwise. Nor
                            indicate otherwise. Nor is there anything
                                                    is there anything in
                                                                      in the
                                                                         the entire
                                                                             entire record that
                                                                                    record that

anyone in
anyone in B.P.J.'s
          B.P.J.’s school
                   school or
                          or in
                             in the
                                the State has treated
                                    State has treated B.P.J.
                                                      B.P.J. with
                                                             with anything
                                                                  anything other
                                                                           other than
                                                                                 than the
                                                                                      the utmost
                                                                                          utmost

respect. In
respect. In fact, B.P.J. and
            fact, B.P.J. and family
                             family have
                                    have been
                                         been happy
                                              happy with
                                                    with all
                                                         all interactions
                                                             interactions with
                                                                          with B.P.J.'s
                                                                               B.P.J.’s school
                                                                                        school

officials. See
officials. See Brief
               Brief of
                     of Defendant
                        Defendant Harrison
                                  Harrison County
                                           County BOE
                                                  BOE and
                                                      and Dora
                                                          Dora Stetler at 2-3,
                                                               Stetler at 2-3, ECF No. 281.
                                                                               ECF No. 281.

Instead, the Legislature
Instead, the             targeted the
             Legislature targeted the referenced
                                      referenced important
                                                 important interests and regulated
                                                           interests and regulated team
                                                                                   team eligibility
                                                                                        eligibility

appropriately.
appropriately.

           4. H.B. 3293
           4. H.B. 3293 is
                        is substantially
                           substantially related to the
                                         related to the governmental
                                                        governmental interests.
                                                                     interests.

       Section 25d protects
       Section 25d protects the
                            the State’s
                                State's important interests based
                                        important interests based on
                                                                  on the
                                                                     the well-known
                                                                         well-known "innate
                                                                                    “innate

physical differences
physical             between the
         differences between the sexes,
                                 sexes, rather
                                        rather than
                                               than on
                                                    on generalizations
                                                       generalizations that
                                                                       that are
                                                                            are ‘archaic’ or attitudes
                                                                                `archaic' or attitudes




                                                  20
                                                  20
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of romantic
of romantic paternalism."
            paternalism.” Clark I, 695
                          Clark I,     F.2d at
                                   695 F.2d at 1130
                                               1130 (cleaned
                                                    (cleaned up) (quoting Petrie
                                                             up) (quoting Petrie v. Ill. High
                                                                                 v. M.   High Sch.
                                                                                              Sch.

Ass’n, 394
Ass'n, 394 N.E.2d
           N.E.2d 855,
                  855, 862 (1979)). See
                       862 (1979)). See generally
                                        generally State’s MSJ Memo.
                                                  State's MSJ Memo. at
                                                                    at 13-17,
                                                                       13-17, ECF No. 287.
                                                                              ECF No. 287.

               a. The
               a. The Save
                      Save Women's
                           Women’s Sports
                                   Sports Act
                                          Act Protects
                                              Protects Equal Athletic Opportunities
                                                       Equal Athletic Opportunities for
                                                                                    for
               Female Athletes.
               Female Athletes.

       Section 25d is
       Section 25d is designed to be,
                      designed to be, and
                                      and is, substantially related
                                          is, substantially         to the
                                                            related to the important
                                                                           important goal
                                                                                     goal of
                                                                                          of ensuring
                                                                                             ensuring

equal opportunities
equal opportunities for
                    for females
                        females in
                                in sports.
                                   sports. As
                                           As expressed
                                              expressed by
                                                        by Plaintiffs
                                                           Plaintiff’s proffered
                                                                       proffered expert,
                                                                                 expert, Joshua
                                                                                         Joshua

Safer, “gender identity
Safer, "gender identity itself
                        itself is
                               is not
                                  not aa useful
                                         useful indicator of athletic
                                                indicator of athletic performance."
                                                                      performance.” Ex. F, Safer
                                                                                    Ex. F,       Dep.
                                                                                           Safer Dep.

at 167:22-24
at 167:22-24 to
             to 168:1,
                168:1, ECF No. 285-6.
                       ECF No. 285-6. This is because
                                      This is because the
                                                      the record
                                                          record shows
                                                                 shows that
                                                                       that males
                                                                            males notably
                                                                                  notably

outperform females
outperform         in competitive
           females in competitive sports
                                  sports such
                                         such as
                                              as track
                                                 track and
                                                       and field and other
                                                           field and other non-contact
                                                                           non-contact sports.
                                                                                       sports. It
                                                                                               It

is an
is an established physiological fact
      established physiological fact recognized by numerous
                                     recognized by numerous courts, shown by
                                                            courts, shown by performance
                                                                             performance data,
                                                                                         data,

and explained
and explained by
              by well-known
                 well-known researchers.
                            researchers. See,
                                         See, e.g.,
                                              e.g., Clark, 695 F.2d
                                                    Clark, 695 F.2d at
                                                                    at 1131
                                                                       1131 (noting
                                                                            (noting that
                                                                                    that rule
                                                                                         rule

excluding boys
excluding boys from
               from girls'
                    girls’ team
                           team "is
                                “is simply
                                    simply recognizing the physiological
                                           recognizing the physiological fact that males
                                                                         fact that males would
                                                                                         would

have an
have an undue advantage competing
        undue advantage competing against
                                  against women,"
                                          women,” and
                                                  and would
                                                      would diminish
                                                            diminish opportunities
                                                                     opportunities for
                                                                                   for

females) and W.
females) and W. Va.
                Va. Resp.
                    Resp. at
                          at Ex.
                             Ex. I, ECF No.
                                 I, ECF No. 49.
                                            49.

       The advantage starts
       The advantage starts before
                            before puberty.
                                   puberty. See
                                            See supra
                                                supra at
                                                      at p.11.
                                                         p.11. Males
                                                               Males have
                                                                     have an
                                                                          an initial
                                                                             initial testosterone
                                                                                     testosterone

boost after
boost after birth,
            birth, with
                   with aa 500%
                           500% initial advantage over
                                initial advantage over females. Brown Decl.
                                                       females. Brown Decl. at
                                                                            at ¶68,
                                                                               ¶68, ECF No.285-7.
                                                                                    ECF No.285-7.

Indeed, “[r]esearch shows
Indeed, "[r]esearch shows that
                          that sex-based
                               sex-based discrepancies
                                         discrepancies in
                                                       in lean muscle mass
                                                          lean muscle mass begin
                                                                           begin to
                                                                                 to be
                                                                                    be established
                                                                                       established

from infancy, and
from infancy, and persist
                  persist through
                          through childhood to adolescence."
                                  childhood to adolescence.” Carlson
                                                             Carlson Decl.
                                                                     Decl. at
                                                                           at ¶49,
                                                                              ¶49, ECF No.285-
                                                                                   ECF No.285-

55 (citing
   (citing studies).
           studies). Actual
                     Actual data from extensive
                            data from extensive international studies show
                                                international studies show that
                                                                           that prepubertal
                                                                                prepubertal biological
                                                                                            biological

boys consistently
boys consistently outperform
                  outperform girls
                             girls in
                                   in jumping,
                                      jumping, running, and upper
                                               running, and upper body
                                                                  body strength
                                                                       strength events, sometimes
                                                                                events, sometimes

in massive
in massive degrees.
           degrees. Brown
                    Brown Decl.
                          Decl. at
                                at ¶¶
                                   ¶¶ 71-109,
                                      71-109, ECF No. 285-7.
                                              ECF No. 285-7. See
                                                             See also,
                                                                 also, generally,
                                                                       generally, State’s MSJ
                                                                                  State's MSJ

Memo. at
Memo. at 13-17,
         13-17, ECF No. 287.
                ECF No. 287.




                                                 21
                                                 21
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         Plaintiff’s experts
         Plaintiff's experts have
                             have claimed
                                  claimed that
                                          that this
                                               this athletic
                                                    athletic advantage
                                                             advantage can be eliminated
                                                                       can be            via puberty
                                                                              eliminated via puberty

blockers and
blockers and hormone
             hormone treatments.
                     treatments. But
                                 But there
                                     there is
                                           is no
                                              no performance
                                                 performance data to support
                                                             data to support this assertion.20 In
                                                                             this assertion.20 In

fact, the opposite
fact, the opposite is true. While
                   is true. While testosterone
                                  testosterone suppression
                                               suppression may
                                                           may reduce
                                                               reduce male
                                                                      male advantages,
                                                                           advantages, the
                                                                                       the existing
                                                                                           existing

studies "report
studies “report that
                that testosterone
                     testosterone suppression
                                  suppression for
                                              for aa full
                                                     full year
                                                          year (and
                                                               (and in some cases
                                                                    in some cases much
                                                                                  much longer) does
                                                                                       longer) does

not come
not come close
         close to
               to eliminating
                  eliminating male
                              male advantages
                                   advantages in strength (hand
                                              in strength (hand grip,
                                                                grip, leg strength, and
                                                                      leg strength, and arm
                                                                                        arm

strength) or
strength) or running speed.” Brown
             running speed." Brown Decl.
                                   Decl. at
                                         at ¶122,
                                            ¶122, ECF No. 285-7;
                                                  ECF No. 285-7; see
                                                                 see generally
                                                                     generally id. at ¶¶122-174
                                                                               id. at ¶¶122-174

and State’s
and         MSJ Memo.
    State's MSJ Memo. at
                      at 13-17,
                         13-17, ECF No. 287.
                                ECF No. 287.

         Moreover, as
         Moreover, as the
                      the Supreme Court has
                          Supreme Court has made
                                            made clear in applying
                                                 clear in applying intermediate
                                                                   intermediate scrutiny,
                                                                                scrutiny, the
                                                                                          the fact
                                                                                              fact

that athletic
that athletic opportunities
              opportunities might
                            might be
                                  be equalized
                                     equalized through
                                               through other
                                                       other means
                                                             means or
                                                                   or by
                                                                      by other
                                                                         other measures
                                                                               measures is
                                                                                        is of
                                                                                           of no
                                                                                              no

constitutional consequence.
constitutional              Nguyen, 533
               consequence. Nguyen, 533 U.S.
                                        U.S. at
                                             at 70.
                                                70. Put
                                                    Put another
                                                        another way,
                                                                way, the
                                                                     the existence
                                                                         existence of
                                                                                   of even
                                                                                      even "wiser
                                                                                           “wiser

alternatives than
alternatives than the
                  the one
                      one chosen does not
                          chosen does not serve
                                          serve to
                                                to invalidate
                                                   invalidate the
                                                              the policy
                                                                  policy [of
                                                                         [of excluding males from
                                                                             excluding males from

female sports] since
female sports] since it
                     it is
                        is substantially
                           substantially related
                                         related to
                                                 to the
                                                    the goal"
                                                        goal” of
                                                              of providing
                                                                 providing fair and equal
                                                                           fair and equal opportunities
                                                                                          opportunities

for females to
for females to participate
               participate in
                           in athletics.
                              athletics. Clark I, 695
                                         Clark I,     F.2d at
                                                  695 F.2d at 1132.
                                                              1132. Demanding
                                                                    Demanding that
                                                                              that the
                                                                                   the statute
                                                                                       statute

provide an
provide an exact
           exact solution
                 solution as
                          as to
                             to every plaintiff that
                                every plaintiff that brings
                                                     brings an
                                                            an as-applied
                                                               as-applied challenge would effectively
                                                                          challenge would effectively

disregard intermediate
disregard intermediate scrutiny
                       scrutiny by
                                by improperly
                                   improperly demanding
                                              demanding aa perfect
                                                           perfect fit between the
                                                                   fit between the sex-based
                                                                                   sex-based

classification and
classification and the
                   the relevant
                       relevant government
                                government interest. Intermediate scrutiny
                                           interest. Intermediate scrutiny requires
                                                                           requires that
                                                                                    that the
                                                                                         the "fit
                                                                                             “fit

between the
between the challenged
            challenged regulation
                       regulation and
                                  and the
                                      the asserted
                                          asserted objective
                                                   objective be
                                                             be reasonable,
                                                                reasonable, not
                                                                            not perfect."
                                                                                perfect.” United
                                                                                          United

States v.
States    Staten, 666
       v. Staten,     F.3d 154,
                  666 F.3d 154, 162
                                162 (4th
                                    (4th Cir.
                                         Cir. 2011)
                                              2011) (emphasis
                                                    (emphasis added).
                                                              added).

         Thus, the actual
         Thus, the actual evidence shows that
                          evidence shows that the
                                              the Save Women’s Sports
                                                  Save Women's        Act’s requirement
                                                               Sports Act's requirement that
                                                                                        that only
                                                                                             only

biological females
biological         may participate
           females may participate on
                                   on female teams is
                                      female teams is based
                                                      based on
                                                            on science,
                                                               science, and
                                                                        and that
                                                                            that it
                                                                                 it is substantially
                                                                                    is substantially

related to
related to the
           the important
               important governmental
                         governmental objective
                                      objective of
                                                of ensuring
                                                   ensuring equal athletic opportunities
                                                            equal athletic opportunities for
                                                                                         for

females.
females.


20
20 The same
   The  same is
              is true
                 true for Plaintiff’s suggestion
                      for Plaintiff's suggestion that
                                                 that the
                                                      the wide-ranging
                                                           wide-ranging prepubertal
                                                                        prepubertal male
                                                                                    male performance
                                                                                         performance advantages
                                                                                                     advantages are
                                                                                                                are the
                                                                                                                    the
result of
result of "social
          “social factors.”
                   factors." See  Pl. MSJ
                             See Pl.  MSJ Memo.
                                          Memo. at at 28,
                                                      28, fn. 11, ECF
                                                          fn. 11, ECF 291.
                                                                      291.

                                                         22
                                                         22
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                b. The Save
                b. The Save Women's
                            Women’s Sports
                                    Sports Act
                                           Act Protects
                                               Protects Female Athlete’s Safety.
                                                        Female Athlete's Safety.

        A second
        A second governmental
                 governmental interest
                              interest supporting
                                       supporting the
                                                  the Save Women’s Sports
                                                      Save Women's        Act is
                                                                   Sports Act is the
                                                                                 the

fundamental
fundamental interest
            interest in the safety
                     in the safety of
                                   of girls and women
                                      girls and women in
                                                      in contact
                                                         contact sports.
                                                                 sports. That
                                                                         That interest
                                                                              interest is implicit in
                                                                                       is implicit in

the Title
the Title IX sports regulations,
          IX sports regulations, is recognized by
                                 is recognized by World
                                                  World Rugby
                                                        Rugby and
                                                              and UK
                                                                  UK Sports (see Carlson
                                                                     Sports (see Carlson Decl.
                                                                                         Decl.

at 1-3,
at 1-3, ECF No. 285-5)
        ECF No. 285-5) and
                       and here
                           here in
                                in West
                                   West Virginia
                                        Virginia by
                                                 by SSAC. And it
                                                    SSAC. And it is
                                                                 is self-evident
                                                                    self-evident in
                                                                                 in the
                                                                                    the very
                                                                                        very

nature of
nature of contact
          contact sports.
                  sports. See
                          See generally
                              generally State’s MSJ Memo.
                                        State's MSJ Memo. at
                                                          at 17-21,
                                                             17-21, ECF No. 287,
                                                                    ECF No. 287, and
                                                                                 and generally
                                                                                     generally

Carlson Decl.
Carlson Decl. (ECF
              (ECF No.
                   No. 285-5)
                       285-5)

        The biological sex
        The biological sex classification
                           classification is
                                          is substantially
                                             substantially related
                                                           related to
                                                                   to the
                                                                      the purpose
                                                                          purpose of
                                                                                  of safety
                                                                                     safety in female
                                                                                            in female

sports, and
sports, and science
            science supports
                    supports that
                             that classification.
                                  classification. Expert Dr. Chad
                                                  Expert Dr. Chad Carlson
                                                                  Carlson is
                                                                          is aa sports
                                                                                sports medical
                                                                                       medical doctor
                                                                                               doctor

with extensive
with extensive qualifications.
               qualifications. See,
                               See, generally,
                                    generally, id. He fully
                                               id. He       documents the
                                                      fully documents the science
                                                                          science behind
                                                                                  behind what
                                                                                         what is
                                                                                              is

“self-evident to
"self-evident to most
                 most people
                      people familiar
                             familiar with
                                      with sports
                                           sports injuries that if
                                                  injuries that if men
                                                                   men and
                                                                       and women
                                                                           women were
                                                                                 were to
                                                                                      to participate
                                                                                         participate

together in
together in competitive
            competitive contact sports, there
                        contact sports, there would
                                              would be
                                                    be higher
                                                       higher rates
                                                              rates of
                                                                    of injury
                                                                       injury in women.” Id.
                                                                              in women." Id. at
                                                                                             at ¶24.
                                                                                                ¶24.

The West Virginia
The West Virginia Legislature is just
                  Legislature is just as
                                      as familiar with this
                                         familiar with this common-sense
                                                            common-sense observation
                                                                         observation as
                                                                                     as anyone
                                                                                        anyone

observing men's
observing men’s and
                and women's
                    women’s contact sports. See
                            contact sports. See Billups
                                                Billups v.
                                                        v. City of Charleston,
                                                           City of Charleston, S.C.,
                                                                               S.C., 961 F.3d
                                                                                     961 F.3d

673,
673, 685 (4th Cir.
     685 (4th Cir. 2020)
                   2020) (governments
                         (governments can
                                      can use
                                          use "common
                                              “common sense"
                                                      sense” to
                                                             to establish
                                                                establish aa governmental
                                                                             governmental

interest).
interest).

        Some assert that
        Some assert that "hormonal
                         “hormonal manipulation
                                   manipulation of
                                                of aa male
                                                      male athlete
                                                           athlete can
                                                                   can feminize the athlete
                                                                       feminize the athlete enough
                                                                                            enough

that he
that he is
        is comparable with females"
           comparable with females” for these purposes
                                    for these purposes (Carleson
                                                       (Carleson at
                                                                 at ¶80),
                                                                    ¶80), but
                                                                          but "none
                                                                              “none of
                                                                                    of the
                                                                                       the relevant
                                                                                           relevant

transgender eligibility
transgender             policies [of
            eligibility policies [of sports
                                     sports organizations].
                                            organizations]. .. .. requires
                                                                  requires any
                                                                           any demonstration
                                                                               demonstration that
                                                                                             that it
                                                                                                  it has
                                                                                                     has

actually achieved
actually achieved that
                  that effect[.]"
                       effect[.]” Id.
                                  Id. at
                                      at ¶81.
                                         ¶81. "In
                                              “In fact,
                                                  fact, the
                                                        the relevant
                                                            relevant evidence
                                                                     evidence strongly
                                                                              strongly indicates that
                                                                                       indicates that

no amount
no amount of
          of testosterone
             testosterone suppression
                          suppression can
                                      can eliminate
                                          eliminate male
                                                    male physiological
                                                         physiological advantages
                                                                       advantages relevant
                                                                                  relevant to
                                                                                           to

performance and
performance and safety".
                safety”. Id.
                         Id. at
                             at ¶83,
                                ¶83, and
                                     and generally
                                         generally at
                                                   at ¶¶79-97.
                                                      ¶¶79-97.




                                                  23
                                                  23
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       The only organizations
       The only organizations that
                              that actually
                                   actually have
                                            have examined
                                                 examined the
                                                          the safety
                                                              safety of
                                                                     of biological
                                                                        biological women
                                                                                   women in
                                                                                         in the
                                                                                            the

debate over
debate over transfemale
            transfemale athletes
                        athletes in
                                 in female sports have
                                    female sports have determined
                                                       determined that
                                                                  that it
                                                                       it is not safe
                                                                          is not safe to
                                                                                      to have
                                                                                         have

transfemales on
transfemales on female
                female designated teams. See
                       designated teams. See id. at ¶¶94
                                             id. at ¶¶94 and
                                                         and 86. Moreover, Plaintiff
                                                             86. Moreover, Plaintiff has
                                                                                     has no
                                                                                         no

studies or
studies or sports
           sports medical
                  medical experts
                          experts that
                                  that support
                                       support such
                                               such aa claim.
                                                       claim. Indeed, Plaintiff’s expert
                                                              Indeed, Plaintiffs  expert Safer
                                                                                         Safer

acknowledges that
acknowledges that he
                  he does
                     does not
                          not have
                              have aa view
                                      view on
                                           on "whether
                                              “whether it
                                                       it is
                                                          is reasonable to exclude
                                                             reasonable to exclude aa natal
                                                                                      natal male
                                                                                            male

with aa transgender
with    transgender identity
                    identity from participation” in
                             from participation"    various girls
                                                 in various       high school
                                                            girls high school contact sports. Safer
                                                                              contact sports. Safer

Dep. at
Dep. at 173-175,
        173-175, ECF No. 285-6.
                 ECF No. 285-6.

       In any event,
       In any event, governments
                     governments need
                                 need not
                                      not await
                                          await injury
                                                injury before
                                                       before acting,
                                                              acting, particularly
                                                                      particularly when
                                                                                   when injury
                                                                                        injury

can be
can be anticipated
       anticipated and
                   and prevented.
                       prevented. This
                                  This issue
                                       issue has
                                             has been
                                                 been present
                                                      present in sports for
                                                              in sports     over four
                                                                        for over four decades, but
                                                                                      decades, but

now that
now that the
         the number
             number of
                    of children
                       children and
                                and youths
                                    youths identifying
                                           identifying as
                                                       as transgender
                                                          transgender has shot up
                                                                      has shot up to
                                                                                  to over
                                                                                     over 100
                                                                                          100

times historical
times historical rates (Carlson Decl.
                 rates (Carlson Decl. at
                                      at 59,
                                         59, ECF No. 285-5),
                                             ECF No. 285-5), the
                                                             the Legislature can reasonably
                                                                 Legislature can reasonably act
                                                                                            act

now—the Constitution
now—the Constitution does
                     does not
                          not require
                              require waiting
                                      waiting for
                                              for more
                                                  more data
                                                       data or
                                                            or actual
                                                               actual injuries
                                                                      injuries to
                                                                               to West
                                                                                  West Virginia
                                                                                       Virginia

student-athletes. As
student-athletes. As Dr.
                     Dr. Carlson
                         Carlson explains: “policymakers have
                                 explains: "policymakers have an
                                                              an important
                                                                 important and
                                                                           and pressing
                                                                               pressing duty"
                                                                                        duty” to
                                                                                              to

act proactively
act proactively to
                to "establish
                   “establish [safety]
                              [safety] policies
                                       policies governing
                                                governing participation
                                                          participation of
                                                                        of biological
                                                                           biological males
                                                                                      males in female
                                                                                            in female

athletics[.]” Id.
athletics[.]" Id. at
                  at 59.
                     59. That is exactly
                         That is         what West
                                 exactly what West Virginia
                                                   Virginia has
                                                            has done, using aa classification
                                                                done, using                   that is
                                                                               classification that is

“substantially related
"substantially         to the
               related to the achievement
                              achievement of
                                          of those
                                             those objectives."
                                                   objectives.”        Virginia,
                                                                       Virginia, 518 U.S. at
                                                                                 518 U.S. at 524.
                                                                                             524.

Accordingly, Section
Accordingly,         25d meets
             Section 25d meets the
                               the constitutional
                                   constitutional requirements
                                                  requirements under
                                                               under the
                                                                     the Equal Protection Clause.
                                                                         Equal Protection Clause.

C. Plaintiff’s As-Applied
C. Plaintiff's As-Applied Challenge
                          Challenge Fails
                                    Fails

       “The Equal
       "The       Protection Clause
            Equal Protection Clause generally
                                    generally requires
                                              requires the
                                                       the government
                                                           government to
                                                                      to treat
                                                                         treat similarly
                                                                               similarly situated
                                                                                         situated

people alike."
people alike.” Roubideaux
               Roubideaux v.,
                          v., 570 F.3d at
                              570 F.3d at 974 (cleaned up).
                                          974 (cleaned up). "[I]t
                                                            “[I]t is
                                                                  is necessary
                                                                     necessary [for
                                                                               [for the
                                                                                    the Plaintiff]
                                                                                        Plaintiff] to
                                                                                                   to

“precisely define"
"precisely define” the
                   the claim
                       claim in order to
                             in order to determine what government
                                         determine what government action
                                                                   action is
                                                                          is being
                                                                             being challenged.”
                                                                                   challenged."

Id. Further,
Id. Further, as-applied
             as-applied challenges based on
                        challenges based on the
                                            the equal
                                                equal protection
                                                      protection clause
                                                                 clause can succeed only
                                                                        can succeed only if
                                                                                         if the
                                                                                            the law
                                                                                                law

violates the
violates the Constitution
             Constitution "in
                          “in discrete
                              discrete and
                                       and well-defined
                                           well-defined instances.”
                                                        instances." Gonzales
                                                                    Gonzales v.
                                                                             v. Carhart,
                                                                                Carhart, 550 U.S.
                                                                                         550 U.S.



                                                 24
                                                 24
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124, 167
124, 167 (2007).
         (2007). The Plaintiff has
                 The Plaintiff has not
                                   not provided
                                       provided aa precisely
                                                   precisely or
                                                             or well-defined
                                                                well-defined description
                                                                             description of
                                                                                         of the
                                                                                            the scope
                                                                                                scope

of the
of the "as-applied"
       “as-applied” challenge.
                    challenge. While
                               While Plaintiff
                                     Plaintiff has
                                               has not
                                                   not fulfilled this obligation,
                                                       fulfilled this obligation, Plaintiff's
                                                                                  Plaintiff’s brief
                                                                                              brief

suggests that
suggests that the
              the "well
                  “well defined instance” here
                        defined instance" here is
                                               is that
                                                  that Plaintiff
                                                       Plaintiff is
                                                                 is aa biological
                                                                       biological male
                                                                                  male with
                                                                                       with particular
                                                                                            particular

characteristics, who
characteristics, who and
                     and wishes
                         wishes to
                                to participate
                                   participate on
                                               on girls
                                                  girls non-contact
                                                        non-contact sports
                                                                    sports teams.
                                                                           teams. To enumerate
                                                                                  To enumerate

such relevant
such relevant characteristics, Plaintiff:
              characteristics, Plaintiff:

1.
1.      Is 11 years
        Is 11 years old;
                    old;

2.
2.      Identifies as aa female;
        Identifies as    female;

3.
3.      Has "presented"
        Has “presented” as
                        as aa female by wearing
                              female by wearing stereotypical
                                                stereotypical female
                                                              female clothes and stereotypical
                                                                     clothes and stereotypical

underclothes (i.e.
underclothes (i.e. aa bra),
                      bra), preferring
                            preferring stereotypical
                                       stereotypical hairstyles
                                                     hairstyles (i.e.
                                                                (i.e. long) and preferring
                                                                      long) and preferring aa stereotypical
                                                                                              stereotypical

female color (i.e.
female color (i.e. pink)
                   pink) (see supra at
                         (see supra at p3);
                                       p3);

4.
4.      Has ostensibly
        Has ostensibly been
                       been diagnosed
                            diagnosed with
                                      with gender
                                           gender dysphoria;
                                                  dysphoria;

5.
5.      Has received
        Has received puberty
                     puberty blockers
                             blockers starting
                                      starting at
                                               at the
                                                  the beginning
                                                      beginning of
                                                                of puberty;
                                                                   puberty;

6.
6.      Intends to have
        Intends to      “bottom surgery"
                   have "bottom surgery” as
                                         as soon
                                            soon as
                                                 as allowed;
                                                    allowed;

7.
7.      Intends to use
        Intends to     cross-sex hormones
                   use cross-sex hormones as
                                          as soon
                                             soon as
                                                  as allowed;
                                                     allowed; and
                                                              and

8.
8.      Has performed
        Has performed at
                      at aa pace
                            pace that
                                 that will
                                      will not
                                           not displace
                                               displace any
                                                        any females.
                                                            females.

        Characteristics nos.
        Characteristics nos. 1-3
                             1-3 are
                                 are purely
                                     purely stereotypical
                                            stereotypical gender characteristics and
                                                          gender characteristics and do nothing to
                                                                                     do nothing to

eliminate the
eliminate the competitive
              competitive performance
                          performance advantages
                                      advantages biological
                                                 biological boys
                                                            boys have
                                                                 have over
                                                                      over biological
                                                                           biological girls.
                                                                                      girls.

Simply identifying as
Simply identifying as aa female will not
                         female will not suddenly
                                         suddenly change
                                                  change that
                                                         that advantage.
                                                              advantage. Plaintiffs
                                                                         Plaintiff’s mother
                                                                                     mother Heather
                                                                                            Heather

Jackson, takes the
Jackson, takes the extreme
                   extreme position
                           position that
                                    that any
                                         any male
                                             male should
                                                  should be
                                                         be permitted
                                                            permitted to
                                                                      to participate
                                                                         participate on
                                                                                     on aa girls'
                                                                                           girls’

team as
team as long as the
        long as the athlete
                    athlete claims to identify
                            claims to identify as
                                               as female.
                                                  female. Jackson Dep. 136:14-137:16,
                                                          Jackson Dep. 136:14-137:16, ECF No.
                                                                                      ECF No.

285-2; However,
285-2; However, nearly
                nearly all
                       all athletic
                           athletic organizations
                                    organizations have
                                                  have rejected this position
                                                       rejected this position and
                                                                              and do
                                                                                  do not
                                                                                     not allow
                                                                                         allow

biological males
biological males to
                 to participate
                    participate on
                                on female
                                   female teams
                                          teams just
                                                just because
                                                     because they
                                                             they "identify"
                                                                  “identify” as
                                                                             as females. In
                                                                                females. In




                                                    25
                                                    25
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addition, wearing
addition, wearing stereotypical
                  stereotypical female
                                female clothing and hairstyles
                                       clothing and hairstyles should
                                                               should never
                                                                      never be
                                                                            be the
                                                                               the qualifier
                                                                                   qualifier for
                                                                                             for

joining aa female
joining    female team.
                  team. Therefore,
                        Therefore, characteristics nos. 1-3
                                   characteristics nos. 1-3 cannot
                                                            cannot satisfy
                                                                   satisfy an
                                                                           an as-applied
                                                                              as-applied challenge.
                                                                                         challenge.

         Characteristic no.
         Characteristic no. 4—a
                            4—a psychological
                                psychological diagnosis
                                              diagnosis that
                                                        that the
                                                             the patient
                                                                 patient is
                                                                         is distressed
                                                                            distressed that
                                                                                       that he
                                                                                            he or
                                                                                               or she
                                                                                                  she

identifies differently
identifies differently than
                       than his
                            his or
                                or her
                                   her natal sex—also does
                                       natal sex—also does not
                                                           not eliminate
                                                               eliminate those
                                                                         those advantages,
                                                                               advantages, even
                                                                                           even

combined with
combined with characteristics
              characteristics 1-3.
                              1-3.

         As for
         As for characteristic no. 5—pre-pubertal
                characteristic no.                boys, in
                                   5—pre-pubertal boys, in fact,
                                                           fact, can and do
                                                                 can and do present
                                                                            present aa performance
                                                                                       performance

threat to
threat to girls
          girls competitively even without
                competitively even without going through puberty.
                                           going through puberty. See
                                                                  See Brown
                                                                      Brown Decl.
                                                                            Decl. ¶¶68,
                                                                                  ¶¶68, 71-10,
                                                                                        71-10,

ECF No. 285-7
ECF No. 285-7 and
              and supra
                  supra at
                        at pp.
                           pp. 11
                               11 and
                                  and 23.
                                      23. And
                                          And while
                                              while puberty
                                                    puberty blockers
                                                            blockers may
                                                                     may affect
                                                                         affect the
                                                                                the future
                                                                                    future

performance of
performance of aa person
                  person so
                         so treated,
                            treated, Plaintiff
                                     Plaintiff has
                                               has not
                                                   not presented
                                                       presented any
                                                                 any data
                                                                     data supporting
                                                                          supporting that
                                                                                     that notion,
                                                                                          notion,

because there
because there is no such
              is no such data.
                         data.

         Similarly, “bottom surgery"
         Similarly, "bottom surgery” and
                                     and hormones
                                         hormones (characteristics
                                                  (characteristics nos.
                                                                   nos. 6
                                                                        6&& 7)
                                                                            7) cannot
                                                                               cannot prevent
                                                                                      prevent or
                                                                                              or

eliminate the
eliminate the male
              male advantage.
                   advantage.        Despite Plaintiffs
                                     Despite Plaintiff’s theoretical
                                                         theoretical claims
                                                                     claims that
                                                                            that only
                                                                                 only circulating
                                                                                      circulating

testosterone affects
testosterone affects athletic
                     athletic performance,
                              performance, Plaintiff
                                           Plaintiff has
                                                     has presented
                                                         presented no
                                                                   no actual
                                                                      actual data
                                                                             data to
                                                                                  to support
                                                                                     support that
                                                                                             that

claim.
claim.

         Finally, Plaintiff
         Finally, Plaintiff claims
                            claims that
                                   that since
                                        since B.P.J.'s
                                              B.P.J.’s performance
                                                       performance did
                                                                   did not
                                                                       not displace biological girls,
                                                                           displace biological girls,

the law
the     should not
    law should not stop
                   stop Plaintiff
                        Plaintiff from
                                  from competing on girls'
                                       competing on girls’ teams.
                                                           teams. This
                                                                  This is
                                                                       is flawed.
                                                                          flawed. First,
                                                                                  First, if
                                                                                         if the
                                                                                            the crux
                                                                                                crux

of an
of an as-applied
      as-applied challenge
                 challenge here
                           here is whether Plaintiff's
                                is whether Plaintiff’s performance
                                                       performance was
                                                                   was not
                                                                       not fast
                                                                           fast enough to pose
                                                                                enough to pose aa

competitive threat
competitive threat keeping
                   keeping biological
                           biological girls
                                      girls off
                                            off the
                                                the team,
                                                    team, then
                                                          then the
                                                               the law
                                                                   law would
                                                                       would need
                                                                             need to
                                                                                  to also
                                                                                     also allow
                                                                                          allow any
                                                                                                any

biological male
biological male on
                on any
                   any girls'
                       girls’ team—as
                              team—as long as he
                                      long as he shows
                                                 shows that
                                                       that he
                                                            he is
                                                               is not
                                                                  not aa competitive threat to
                                                                         competitive threat to

biological girls
biological girls making
                 making the
                        the team.
                            team. Otherwise,
                                  Otherwise, the
                                             the law would discriminate
                                                 law would              against boys
                                                           discriminate against boys based
                                                                                     based solely
                                                                                           solely

on their
on their gender
         gender identity, which is
                identity, which is exactly what the
                                   exactly what the Plaintiff
                                                    Plaintiff claims
                                                              claims the
                                                                     the law is doing
                                                                         law is doing now.
                                                                                      now.

         Also, this
         Also, this performance
                    performance seems
                                seems inconsistent with the
                                      inconsistent with the core
                                                            core fundament of "competitive"
                                                                 fundament of “competitive” sports,
                                                                                            sports,

i.e. to
i.e. to compete
        compete against
                against others
                        others in
                               in pursuit
                                  pursuit of
                                          of victory.
                                             victory. Indeed, both B.P.J.
                                                      Indeed, both B.P.J. and
                                                                          and B.P.J.'s
                                                                              B.P.J.’s mother
                                                                                       mother have
                                                                                              have



                                                 26
                                                 26
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expressly stated
expressly stated that
                 that B.P.J.
                      B.P.J. wishes
                             wishes to
                                    to compete
                                       compete and
                                               and win.
                                                   win. Am
                                                        Am .. Compl.
                                                              Compl. ¶
                                                                     ¶ 11 (ECF
                                                                          (ECF 64); B.P.J Dep.
                                                                               64); B.P.J Dep. at
                                                                                               at

77:3-19,
77:3-19, Ex. A. ;; Jackson
         Ex. A.            Dep. at
                   Jackson Dep. at 133-134,
                                   133-134, ECF No. 285-2.
                                            ECF No. 285-2.

       But assuming
       But assuming that
                    that all
                         all these
                             these characteristics
                                   characteristics together
                                                   together are
                                                            are the
                                                                the Plaintiff's
                                                                    Plaintiff’s precisely
                                                                                precisely or
                                                                                          or well-
                                                                                             well-

defined description
defined description of
                    of the
                       the scope
                           scope of
                                 of the
                                    the "as-applied"
                                        “as-applied” challenge, Plaintiff fails
                                                     challenge, Plaintiff       because the
                                                                          fails because the most
                                                                                            most

important element,
important element, characteristic
                   characteristic no.
                                  no. 8, does not
                                      8, does not match
                                                  match the
                                                        the Plaintiff.
                                                            Plaintiff. While
                                                                       While supposedly
                                                                             supposedly "[I*
                                                                                        “[n]o other
                                                                                              other

Bridgeport Middle
Bridgeport Middle School student was
                  School student was displaced by B.P.J.'s
                                     displaced by B.P.J.’s participation
                                                           participation on
                                                                         on the
                                                                            the girls'
                                                                                girls’ cross-
                                                                                       cross-

country team"
country team” (Defendant
              (Defendant Harrison
                         Harrison BOE
                                  BOE —
                                      – Plaintiff
                                        Plaintiff B.P.J.
                                                  B.P.J. Stipulation at ¶6,
                                                         Stipulation at ¶6, ECF No. 252),
                                                                            ECF No. 252), B.P.J.,
                                                                                          B.P.J.,

did, in
did, in fact,
        fact, displace
              displace other
                       other female athletes, including
                             female athletes,           Bridgeport Middle
                                              including Bridgeport Middle School girls. In
                                                                          School girls. In the
                                                                                           the

October 1,
October 1, 2021
           2021 Ritchie
                Ritchie County
                        County meet,
                               meet, B.P.J.
                                     B.P.J. beat
                                            beat three
                                                 three girl
                                                       girl classmates,
                                                            classmates, displacing them from
                                                                        displacing them from

higher finishing
higher finishing positions
                 positions and
                           and higher
                               higher rankings.
                                      rankings. Stutler Dep. at
                                                Stutler Dep. at 183-184,
                                                                183-184, Ex. F, and
                                                                         Ex. F, and Ex. 40 thereto.
                                                                                    Ex. 40 thereto.

B.P.J. similarly
B.P.J. similarly displaced at least
                 displaced at least 27
                                    27 other
                                       other athletes
                                             athletes there
                                                      there and
                                                            and another
                                                                another 15
                                                                        15 at
                                                                           at the
                                                                              the Mountain
                                                                                  Mountain Hollar
                                                                                           Hollar

MS Invitational,
MS               some of
   Invitational, some of whom
                         whom were
                              were likely
                                   likely biological
                                          biological girls
                                                     girls from other schools.
                                                           from other schools. Plaintiffs
                                                                               Plaintiff’s SUF at
                                                                                           SUF at

¶¶ 122-123,
¶¶ 122-123, ECF No. 290.
            ECF No. 290. Thus,
                         Thus, BPJ
                               BPJ fails even under
                                   fails even under the
                                                    the final
                                                        final categorization.
                                                              categorization.

       So, even as-applied
       So, even as-applied to
                           to this
                              this "very
                                   “very specific
                                         specific instance,"
                                                  instance,” the
                                                             the law
                                                                 law is substantially related
                                                                     is substantially related to
                                                                                              to the
                                                                                                 the

governmental interest
governmental interest of
                      of protecting
                         protecting biological
                                    biological girls
                                               girls from unfair competition.
                                                     from unfair competition.

D. Plaintiff
D. Plaintiff Is Not Entitled
             Is Not Entitled To An Injunction
                             To An Injunction Because
                                              Because The
                                                      The Balance
                                                          Balance Of
                                                                  Of The
                                                                     The Hardships Weighs
                                                                         Hardships Weighs
Against The
Against The Plaintiff.
              Plaintiff.

       Plaintiff speaks
       Plaintiff speaks only
                        only of
                             of B.P.J.'s
                                B.P.J.’s sadness
                                         sadness if
                                                 if not
                                                    not allowed
                                                        allowed on
                                                                on aa girls'
                                                                      girls’ team.
                                                                             team. Yet
                                                                                   Yet this
                                                                                       this is
                                                                                            is not
                                                                                               not aa

one sided
one sided equation. Biological female
          equation. Biological        athletes have
                               female athletes have been
                                                    been upset,
                                                         upset, embittered, and emotionally
                                                                embittered, and emotionally

devastated because
devastated because they
                   they have
                        have been
                             been forced
                                  forced to
                                         to compete against biological
                                            compete against biological males
                                                                       males identifying
                                                                             identifying as
                                                                                         as

females. For example,
females. For example, the
                      the University
                          University of
                                     of Pennsylvania
                                        Pennsylvania allowed
                                                     allowed Lia
                                                             Lia Thomas,
                                                                 Thomas, aa biological
                                                                            biological male
                                                                                       male

swimmer now
swimmer now identifying
            identifying as
                        as female after competing
                           female after competing for years as
                                                  for years as aa male,
                                                                  male, to
                                                                        to compete
                                                                           compete on
                                                                                   on its
                                                                                      its female
                                                                                          female

swim team.
swim team. Biological
           Biological young
                      young women
                            women objected
                                  objected in
                                           in strong
                                              strong terms
                                                     terms regarding
                                                           regarding fair competition and
                                                                     fair competition and the
                                                                                          the

personal impact
personal impact of
                of these
                   these events,
                         events, saying:
                                 saying: "They're
                                         “They’re just
                                                  just proving,
                                                       proving, once
                                                                once again,
                                                                     again, that
                                                                            that they
                                                                                 they don't
                                                                                      don’t actually
                                                                                            actually


                                                27
                                                27
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care about
care about their
           their women
                 women athletes
                       athletes[.]”; “They say
                               [1"; "They  say that
                                               that they
                                                    they care
                                                         care and
                                                              and that
                                                                  that they're
                                                                       they’re here
                                                                               here for
                                                                                    for our
                                                                                        our emotions,
                                                                                            emotions,

but why
but why do we have
        do we have to
                   to be
                      be gracious
                         gracious losers?
                                  losers? .. .. .. Who
                                                   Who are
                                                       are you
                                                           you to
                                                               to tell
                                                                  tell me
                                                                       me that
                                                                          that II shouldn't
                                                                                  shouldn’t want
                                                                                            want to
                                                                                                 to win
                                                                                                    win

because II do
because       want to
           do want to win.
                      win. I’m swimming. I’m
                           I'm swimming.     dedicating more
                                         I'm dedicating more than
                                                             than 20
                                                                  20 hours
                                                                     hours aa week
                                                                              week to
                                                                                   to the
                                                                                      the sport";
                                                                                          sport.”;

and "Obviously,
and “Obviously, II want
                   want to
                        to win.
                           win. You
                                You can't
                                    can’t just
                                          just tell
                                               tell me
                                                    me II should
                                                          should be
                                                                 be happy
                                                                    happy with
                                                                          with second
                                                                               second place.
                                                                                      place. I'm
                                                                                             I’m

not.”21 Other
not."21 Other biological
              biological girls
                         girls also
                               also expressed
                                    expressed their
                                              their fairness
                                                    fairness concerns over this
                                                             concerns over this issue.22
                                                                                issue.22 Neither the
                                                                                         Neither the

State
State nor the Court
      nor the Court can
                    can ignore
                        ignore the
                               the need
                                   need for
                                        for fairness to biological
                                            fairness to biological females.
                                                                   females. The Court should
                                                                            The Court should deny
                                                                                             deny

any permanent
any permanent injunction.
              injunction.

                                               CONCLUSION
                                               CONCLUSION

        The
        The State of West
            State of West Virginia
                          Virginia respectfully
                                   respectfully asks
                                                asks that
                                                     that this
                                                          this Court
                                                               Court deny
                                                                     deny Plaintiffs
                                                                          Plaintiff’s Motion
                                                                                      Motion for
                                                                                             for

Summary
Summary Judgment and the
        Judgment and the various
                         various forms of relief
                                 forms of relief Plaintiff
                                                 Plaintiff requests therewith.
                                                           requests therewith.

                                                     Respectfully submitted,
                                                     Respectfully submitted,

                                                     PATRICK MORRISEY
                                                     PATRICK   MORRISEY
                                                      West
                                                      West Virginia Attorney General
                                                           Virginia Attorney General

                                                     /s/
                                                     /5/ Curtis R. A.
                                                         Curtis R. A. Capehart
                                                                      Capehart
                                                     Douglas P.
                                                     Douglas   P. Buffington
                                                                  Buffington II
                                                                              II (WV  Bar #
                                                                                 (WV Bar   # 8157)
                                                                                             8157)
                                                       Chief Deputy Attorney
                                                       Chief Deputy   Attorney General
                                                                                General
                                                     Curtis R.A.
                                                     Curtis  R.A. Capehart
                                                                   Capehart (WV
                                                                            (WV BarBar ## 9876)
                                                                                          9876)
                                                       Deputy Attorney
                                                      Deputy   Attorney General
                                                                         General
                                                     David C.
                                                     David   C. Tryon  (WV Bar
                                                                Tryon (WV    Bar #14145)
                                                                                  #14145)
                                                       Deputy Solicitor
                                                      Deputy   Solicitor General
                                                                         General
                                                     OFFICE OF
                                                     OFFICE   OF T HE W
                                                                 THE         VIRGINIA ATTORNEY
                                                                         EST VIRGINIA
                                                                      WEST              ATTORNEY
                                                     GENERAL
                                                     GENERAL
                                                     State Capitol Complex
                                                     State Capitol  Complex
                                                     1900 Kanawha
                                                     1900  Kanawha Blvd.
                                                                      Blvd. E,
                                                                            E, Building
                                                                                Building 1,
                                                                                          1, Room
                                                                                             Room E-26
                                                                                                   E-26
                                                     Charleston, WV
                                                     Charleston,        25305-0220
                                                                   WV 25305-0220
                                                     Telephone:   (304) 558-2021
                                                     Telephone: (304)    558-2021
                                                     Facsimile: (304)
                                                     Facsimile:  (304) 558-0140
                                                                        558-0140
                                                     Email:   David.C.Tryon@wvago.gov
                                                     Email: David.C.Tryon@wvago.gov


21
   Paulina Dedaj,
21 Paulina Dedaj, Penn
                  Penn swimmer
                       swimmer slams
                               slams school's
                                     school’s handling
                                              handling of
                                                       of Lia
                                                          Lia Thomas saga: “They
                                                              Thomas saga:       don’t actually
                                                                           "They don't actually care about women
                                                                                                care about women
at all,
at all,” FOX
         FOX NEWS:
             NEWS: S       (Jan. 28,
                     PORTS (Jan.
                   SPORTS        28, 2022,
                                     2022, 11:10
                                            11:10 AM),
                                                  AM), https://www.foxnews.com/sports/lia-thomas-penn-swimming-
                                                        https://www.foxnews.com/sports/lia-thomas-penn-swimming-
teammate-interview.
teammate-interview.
22
   See Haley
22 See  Haley Tanne,
              Tanne, Who will stand
                     Who will stand up   for me
                                     up for  me and
                                                and other
                                                    other women
                                                           women being
                                                                  being beaten
                                                                        beaten by
                                                                               by biological males like
                                                                                  biological males      Lia Thomas?,
                                                                                                   like Lia Thomas?,
FOX NEWS:
Fox   NEWS: OPINION
             OPINION (Mar.
                     (Mar. 23,
                           23, 2022,
                               2022, 2:00
                                      2:00 AM),
                                             AM), https://www.foxnews.com/opinion/women-sports-biological-males-
                                                  https://www.foxnews.com/opinion/women-sports-biological-males-
lia-thomas.
lia-thomas.

                                                        28
                                                        28
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                                   Counsel for Plaintiff,
                                   Counselfor  Plaintiff, STATE
                                                          STATE OF
                                                                OF WEST
                                                                   WEST VIRGINIA
                                                                        VIRGINIA

                                  DATE: May
                                  DATE: May 12,
                                            12, 2022
                                                2022




                                     29
                                     29
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                      IN
                      IN THE UNITED STATES
                         THE UNITED        DISTRICT COURT
                                    STATES DISTRICT COURT
                  FOR THE
                  FOR THE SOUTHERN   DISTRICT OF
                           SOUTHERN DISTRICT  OF WEST
                                                 WEST VIRGINIA
                                                      VIRGINIA
                              CHARLESTON   DIVISION
                              CHARLESTON DIVISION



 B. P.
 B.    J., by
    P. J., by her
              her next
                  next friend and mother,
                       friend and mother,
 HEATHER JACKSON,
 HEATHER       JACKSON,

         Plaintiff,
         Plaintiff,

 v.
 v.                                                  CIVIL ACTION
                                                     CIVIL  ACTION NO.
                                                                     NO. 2:21-cv-00316
                                                                         2:21-cv-00316
                                                     Judge Joseph
                                                     Judge Joseph R.
                                                                  R. Goodwin
                                                                     Goodwin
 WEST VIRGINIA
 WEST    VIRGINIA STATE       BOARD OF
                     STATE BOARD         OF
 EDUCATION, HARRISON
 EDUCATION,      HARRISON COUNTYCOUNTY
 BOARD OF
 BOARD     OF EDUCATION,
               EDUCATION, WEST  WEST VIRGINIA
                                        VIRGINIA
 SECONDARY SCHOOL
 SECONDARY       SCHOOL ACTIVITIES
                             ACTIVITIES
 COMMISSION, W.
 COMMISSION,       W. CLAYTON
                       CLAYTON BURCH,BURCH, in in
 his official Capacity
 his official Capacity as State Superintendent,
                       as State Superintendent,
 DORA STUTLER,
 DORA     STUTLER, in in her official capacity
                         her official capacity as
                                               as
 Harrison County
 Harrison   County Superintendent,
                    Superintendent, andand THE
                                           THE
 STATE OF
 STATE     OF WEST
               WEST VIRGINIA,
                      VIRGINIA,

         Defendants.
         Defendants.

 and LAINEY
 and LAINEY ARMISTEAD,
            ARMISTEAD,

         Intervenor Defendant.
         Intervenor Defendant.

                                  CERTIFICATE OF SERVICE
                                  CERTIFICATE OF SERVICE

       II hereby
          hereby certify
                 certify that,
                         that, on
                               on this
                                   this 12th
                                        12th day  of May,
                                             day of  May, 2022,
                                                          2022, II electronically
                                                                   electronically filed the foregoing
                                                                                  filed the foregoing
with the
with the Clerk
          Clerk of
                of Court
                   Court and
                          and all
                               all parties
                                   parties using
                                           using the
                                                 the CM/ECF
                                                     CM/ECF System.
                                                              System.


                                                /s/ Curtis
                                                /s/        R. A.
                                                    Curtis R. A. Capehart
                                                                 Capehart
                                                Curtis R.
                                                Curtis R. A.
                                                           A. Capehart
                                                              Capehart




                                                    30
                                                    30
